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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION




 UNITED STATES OF AMERICA,

       Plaintiff,
                                             Case No.
               v.

 HINO MOTORS, LTD.;

 HINO MOTORS MANUFACTURING
 U.S.A., INC.; and

 HINO MOTORS SALES U.S.A., INC.,

       Defendants.



 PEOPLE OF THE STATE OF
 CALIFORNIA,

       Plaintiff,                            Case No.

 v.

 HINO MOTORS, LTD.;

 HINO MOTORS MANUFACTURING
 U.S.A., INC.; and

 HINO MOTORS SALES U.S.A., INC.,

       Defendants.




                               CONSENT DECREE
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                                         BACKGROUND

       A.      Plaintiff the United States of America, on behalf of the United States

Environmental Protection Agency (“EPA”), is concurrently with the lodging of this Consent

Decree filing a complaint in this action (the “U.S. Complaint”) alleging that Defendants Hino

Motors, Ltd. (“HML”), Hino Motors Manufacturing U.S.A., Inc. (“HMM”), and Hino Motors

Sales U.S.A., Inc. (“HMS”) (collectively, “Defendants” or “Hino”) violated Section 203(a)(1),

(a)(2), (a)(3)(A) and (a)(3)(B) of the Clean Air Act (the “CAA” or “Act”), 42 U.S.C.

§ 7522(a)(1), (a)(2), (a)(3)(A) and (a)(3)(B) with regard to approximately 105,000 Model Year

2010-2019 heavy-duty highway diesel engines and approximately 5,700 Model Year 2011 to

2019 nonroad compression-ignition engines (collectively, the “Subject Engines”).

       B.      The U.S. Complaint alleges that, for over a decade, Defendants regularly altered

emission test data submitted by Defendants to EPA to demonstrate compliance with the air

pollution emission standards in the CAA in support of their engine certification applications,

obtained the test data through improperly conducted tests, or entirely fabricated the data without

conducting any underlying required testing.

       C.      The U.S. Complaint alleges that from at least 2010 to 2019, Defendants

knowingly submitted materially inaccurate or incomplete emission testing information, or

knowingly rendered test data inaccurate, or submitted false or fabricated test data in their

applications for EPA Certificates of Conformity (“COCs”) for the Subject Engines, in violation

of the Act.

       D.      EPA may void a manufacturer’s COC if the manufacturer intentionally submitted

false or incomplete information. 40 C.F.R. §§ 86.007-30(c)(3), 1039.255(e). A COC that has

been voided ab initio is treated as one that was never granted in the first instance, and all engines

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or vehicles introduced into commerce under that certificate are considered noncompliant. See,

e.g., 40 C.F.R. § 1068.30; see also 40 C.F.R. § 1036.801 (defining “void”). On January 10, 2025,

EPA’s Office of Transportation and Air Quality (“OTAQ”) voided ab initio the COCs for all

Subject Engines.

       E.      The U.S. Complaint alleges that Defendants failed to disclose, or adequately

disclose, certain software functions and calibrations installed by Defendants in most of the

Subject Engines which materially impact their pollution control system. The U.S. Complaint

alleges that these software functions and calibrations are Auxiliary Emission Control Devices

(“AECDs”), that were either not disclosed or not adequately disclosed in the COC applications

during the engine certification process in violation of the Act. The U.S. Complaint also alleges

that certain software functions and calibrations installed by Defendants in the Subject Engines

are prohibited Defeat Devices, in violation of the Act.

       F.      The U.S. Complaint alleges that Defendants (1) sold, offered for sale, introduced

into commerce, delivered for introduction into commerce, or imported the Subject Engines, in

violation of Section 203(a)(1) of the Act, 42 U.S.C. § 7522(a)(1); (2) failed to submit complete

and accurate reports to EPA in violation of Section 203(a)(2) of the Act, 42 U.S.C. § 7522(a)(2);

(3) manufactured, sold, offered for sale, or installed parts or components in its Subject Engines

where the principal effect of the part or component was the bypassing, defeat, or rendering

inoperative of a device or element of design installed on or in the Subject Engines, in violation of

Section 203(a)(3)(B) of the Act, 42 U.S.C. § 7522(a)(3)(B); and (4) incorporated software in its

Subject Engines that removed or rendered inoperative elements of design of the engines’

Emission Control Systems installed in compliance with regulations promulgated under Title II of

the Act, in violation of CAA Section 203(a)(3)(A), 42 U.S.C. § 7522(a)(3)(A).

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       G.      The People of the State of California, acting by and through the California Air

Resources Board (“CARB” or “Plaintiff”), are concurrently with the lodging of this Consent

Decree filing a complaint in this action (the “California Complaint”) against Defendants. This

Consent Decree partially resolves the claims in the California Complaint. In the California

Complaint, CARB alleges that Defendants violated certain provisions of California law —

including, without limitation, California Health and Safety Code Sections 43008.6, 43016,

43106, 43151, 43154, 43211, and 43212; California Vehicle Code Section 27156; 13 C.C.R.

§§ 1956.8, 1971.1, 2141-2149, 2421, 2423; and 42 U.S.C. § 7604 and 40 C.F.R. § 54.3 — with

regard to approximately 15,590 highway diesel engines and 410 nonroad diesel engines

manufactured by Defendants and sold and/or distributed in California (a subset of the Subject

Engines).

       H.      A separate partial consent decree between CARB and Defendants lodged

concurrently with this Consent Decree (the “California Partial Consent Decree”), resolves all

claims in the California Complaint not resolved in this Consent Decree.

       I.      A separate settlement agreement resolves the claims of Rob Bonta, the Attorney

General of California, alleging that Defendants violated provisions of California law—including

the California False Claims Act, California Government Code Sections 12650-12656, the

California Business and Professions Code Sections 17200-17210, California Health and Safety

Code Sections 43100 et seq., and California Civil Code Sections 3479-3508.2—with regard to

the Subject Engines (“California Attorney General Agreement”).

       J.      This Consent Decree is one of several coordinated resolutions of federal civil and

criminal claims by the United States and federal citizen-suit and state civil claims by California

(the “Coordinated Settlements”). The Coordinated Settlements include (1) a Plea Agreement,

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resolving criminal claims by the United States on behalf of EPA, the National Highway Traffic

Safety Administration (“NHTSA”), and U.S. Customs and Border Protection (“CBP”); (2) this

Consent Decree, resolving civil claims of the United States on behalf of EPA; (3) the California

Partial Decree, resolving civil claims of CARB; (4) the California Attorney General Agreement,

resolving civil claims of the California Attorney General; (5) an administrative Settlement

Agreement resolving civil claims of CBP (“CBP Agreement”); and (6) an administrative

Settlement Agreement resolving civil claims of NHTSA (“NHTSA Agreement”).

       K.      The Parties recognize and agree that (1) there are no practical engineering

solutions that would bring the Model Year 2010-2016 Subject Highway Engines, or the Subject

Nonroad Engines, into compliance with the Act without an unacceptably high risk of failure of

any engineered emission modification itself, or of other software or hardware components of the

Emission Control System adversely affected by such modification; and (2) regulations impose

emission standards for the useful lives of engines, defined in years or mileage, and many of these

engines are beyond, or close to, the end of their useful lives.

       L.      Defendants will submit a recall proposal to OTAQ and CARB, as part of an

administrative process under 40 C.F.R. Part 1068, Subpart F, and 13 C.C.R. §§ 2111−20, to

modify the three most recent Model Years of Subject Vehicles. The recall is intended to bring

these vehicles into compliance with applicable emission standards and will be based on testing

conducted pursuant to a testing protocol approved by OTAQ and CARB on January 3, 2025.

       M.      To address the alleged environmental harm that resulted from the Subject

Engines, including additional emissions expected to result from the Subject Engines, including

those referenced in the previous Paragraph, continuing to operate in the field after the Effective

Date, Defendants will fully mitigate the lifetime (past and future) excess emissions from all

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Subject Engines, through the U.S. Mitigation Program required under Section VII of this

Consent Decree and the California Mitigation Payment required under the separate California

Partial Consent Decree.

        N.      Defendants agree that, from 2020 through at least five years after the Effective

Date of this Consent Decree, they have not applied and shall continue not to apply for new EPA

COCs or CARB Executive Orders for internal combustion engines of any kind (including, e.g.,

engines fueled by diesel or gasoline), as provided in Paragraphs 39 and 50.

        O.      The United States and CARB reviewed Financial Information submitted by

Defendants and determined that Defendants have a limited financial ability to pay a civil penalty

and to fund injunctive relief in this action.

        P.      Defendants certify that, prior to the Date of Lodging, HML secured a loan for,

and placed into an escrow or depository account administered by an institution whose escrow or

depository operations, as applicable, are regulated and examined by a federal or state agency,

$679 million dedicated to the satisfaction of near-term obligations to make civil penalty and

other payments in resolution of civil claims under the Coordinated Settlements, including all

obligations to make civil penalty payments within 30 Days of the Effective Date of this Consent

Decree and the entry or finalization of the other settlement documents comprising the

Coordinated Settlements.

        Q.      EPA and CARB consider the terms set forth in this Consent Decree, together with

the California Partial Consent Decree, to be an appropriate resolution of their respective

allegations in the Complaints.




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       R.      The Parties recognize, and the Court by entering this Consent Decree finds, that

this Consent Decree has been negotiated by the Parties in good faith and will avoid litigation

among the Parties and that this Consent Decree is fair, reasonable, and in the public interest.

               NOW, THEREFORE, before the taking of any testimony, without the

adjudication or admission of any issue of fact or law by any Party except as provided in

Section I, and with the consent of the Parties, IT IS HEREBY ADJUDGED, ORDERED, AND

DECREED as follows:

                                I.      JURISDICTION AND VENUE

       1.      This Court has jurisdiction over the subject matter of this action, pursuant to

28 U.S.C. §§ 1331, 1345, and 1355, and Sections 203, 204, 205, and 213(d) of the Act,

42 U.S.C. §§ 7522, 7523, 7524, and 7547(d), and over the Parties. Venue lies in this District

pursuant to 28 U.S.C. §§ 1391(b), (c) and 1395(a). The Court has supplemental jurisdiction over

the state law claims asserted in the California Complaint pursuant to 28 U.S.C. § 1367. For

purposes of this Consent Decree, or in any action to enforce this Consent Decree, Defendants

consent to this Court’s jurisdiction over this Consent Decree and over any action to enforce this

Consent Decree, and over Defendants, and consent to venue in this judicial district. Defendants

reserve the right to challenge and oppose any claims to jurisdiction that do not arise from the

Court’s jurisdiction over this Consent Decree or an action to enforce this Consent Decree.

       2.      For purposes of this Consent Decree only, Defendants agree that: (i) the U.S.

Complaint states claims upon which relief may be granted, pursuant to Sections 203, 204, 205,

and 213(d) of the Act, 42 U.S.C. §§ 7522, 7523, 7524, and 7547(d); and (ii) the California

Complaint states claims upon which relief may be granted, pursuant to California Health and

Safety Code Sections 43008.6, 43016, 43151, 43154, 43211, and 43212; California Vehicle

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Code Section 27156; 13 C.C.R. §§ 1956.8, 1971.1, 2141-2149, 2421, and 2423; and 42 U.S.C.

§ 7604 and 40 C.F.R. § 54.3.

       3.      Defendants agree, and the Court by entering this Consent Decree finds, that EPA

has voided ab initio the Certificates of Conformity for the Subject Engines, and Defendants shall

not contest this voiding.

                                       II.     APPLICABILITY

       4.      The obligations of this Consent Decree apply to and are binding upon the United

States and CARB, and upon Defendants and any successors, assigns, or other entities or persons

otherwise bound by law.

       5.      Defendants’ obligations under this Consent Decree are joint and several, unless

expressly stated otherwise in this Decree. In the event of the insolvency of any Defendant or the

failure of any Defendant(s) to implement any requirement of this Consent Decree, the remaining

Defendant(s) shall complete all such requirements.

       6.      No transfer of ownership or operation of any of Defendants’ businesses (by, e.g.,

merger or acquisition), whether in compliance with the procedures of this Paragraph or

otherwise, shall relieve Defendants of their obligations to ensure that the terms of the Consent

Decree are implemented, unless (a) the transferee agrees to undertake the obligations required by

the Consent Decree and to be substituted for the applicable Defendant as a Party under this

Consent Decree, and thus be bound by the terms thereof, (b) the United States and CARB

consent to relieve the applicable Defendant of its obligations, and (c) the Court consents to the

substitution. The United States’ or CARB’s decision to refuse to approve the substitution of the

transferee for the applicable Defendant as a Party shall be subject to dispute resolution and

judicial review under Section XI (Dispute Resolution), but must be upheld unless arbitrary and

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 capricious. Among the criteria the United States and CARB will use in guiding its decision are

 the proposed transferee’s financial and technical ability to comply with the requirements of this

 Consent Decree, and whether the proposed transferee has a history of noncompliance with the

 Act, its implementing regulations, or analogous requirements. At least 30 Days prior to such

 transfer, Defendants shall provide a copy of this Consent Decree to the proposed transferee and

 shall simultaneously provide written notice of the prospective transfer, together with a copy of

 the proposed written transfer agreement, to the United States, EPA, CARB, and the California

 Attorney General, in accordance with Section XV (Notices and Submissions). Any attempt to

 transfer ownership or operation of any of Defendants’ businesses without complying with this

 Paragraph constitutes a violation of this Consent Decree.

        7.      Not more than 30 Days after Lodging, Defendants shall provide copies of this

 Consent Decree (including Appendices) to the members of their Boards of Directors and to their

 officers, directors, employees, and agents whose duties might reasonably include compliance

 with, or oversight of compliance with, any provision of this Consent Decree. Defendants shall

 also ensure that any contractor, Dealer, agent, and employee whose duties might reasonably

 include compliance with any provision of the Consent Decree is made aware of those

 requirements relevant to their performance. Defendants shall make best efforts to condition any

 contract for performance of work required under this Consent Decree upon performance of the

 work in conformity with the terms of this Consent Decree.

        8.      In any action to enforce this Consent Decree, Defendants shall not raise as a

 defense the failure by any of their officers, directors, contractors, Dealers, agents or employees,

 to take any actions necessary to comply with the provisions of this Consent Decree, except in

 accordance with the provisions of Section X (Force Majeure).

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                                         III.    DEFINITIONS

        9.      Capitalized terms used in this Consent Decree that are defined in the Act or in

 regulations promulgated pursuant to the Act have the meanings assigned to them in the Act or

 such regulations, unless otherwise provided in this Consent Decree. Capitalized terms used in

 this Decree that are defined in the California Health and Safety Code or in CARB regulations

 promulgated pursuant to the California Health and Safety Code shall have the meanings assigned

 to them in the California Health and Safety Code or such regulations, unless otherwise provided

 in this Consent Decree. Capitalized terms that are defined in this Consent Decree are defined for

 purposes of this Consent Decree only and are not defined or applicable for any other purpose.

 Whenever the capitalized terms set forth below are used in this Consent Decree, the following

 definitions apply:

                a.     “Air Pollution Control Fund” means the fund established by California

 Health and Safety Code Section 43015.

                b.     “Approved Emission Modification” or “Emission Modification” means a

 Proposed Emission Modification submitted by Defendants and approved by EPA and CARB

 pursuant to Paragraphs 22–26.

                c.     “Auxiliary Emission Control Device” or “AECD” means any element of

 design which senses temperature, vehicle speed, engine revolutions per minute, transmission

 gear, manifold vacuum, or any other parameter for the purpose of activating, modulating,

 delaying, or deactivating the operation of any part of the Emission Control System, as provided

 in 40 C.F.R. § 86.1803-01.

                d.     “Business Day” means a calendar day that does not fall on a Saturday,

 Sunday, or federal or California holiday. In computing any period of time under this Consent

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 Decree, where the last Day would fall on a Saturday, Sunday, or federal or California holiday,

 the period shall run until the close of business of the next Business Day. The time in which any

 act provided by this Consent Decree is to be done is computed by excluding the first day, and

 including the last, unless the last day is a Saturday, Sunday, or federal or California holiday, and

 then it is also excluded.

                 e.      “California” means the People of the State of California, acting by and

 through the California Air Resources Board, and where it is used to refer to California state

 statutes or regulations only, it means the State of California.

                 f.      “California Attorney General” means California Attorney General Rob

 Bonta and any of his successors.

                 g.      “California Complaint” means the complaint filed by the State of

 California in this action.

                 h.      “California Credited Vehicles” has the meaning provided under Paragraph

 31.b.

                 i.      “California Partial Consent Decree” means a separate partial consent

 decree between CARB and Defendants lodged concurrently with this Consent Decree that

 resolves claims, as set forth therein, in the California Complaint not resolved in this Consent

 Decree, which is part of the Coordinated Settlements.

                 j.      “California Recall Target Rate” means the Emission Modification

 Program implementation rate of at least 85% of Eligible Vehicles in the J05E Recall Group

 registered in California and 85% of the Eligible Vehicles J08E Recall Group registered in

 California specified in Paragraph 31.



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                k.      “CARB” means the California Air Resources Board and any of its

 successor departments or agencies.

                l.      “CBP” means U.S. Customs and Border Protection, a component of the

 U.S. Department of Homeland Security, and any of its successor departments or agencies.

                m.      “CBP Agreement” means the administrative settlement agreement

 resolving civil claims as set forth therein by CBP against Defendants, which is part of the

 Coordinated Settlements.

                n.      “CDX” means Central Data Exchange, EPA’s electronic reporting site

 which can be found at https://cdx.epa.gov/.

                o.      “Certificate of Conformity” or “COC” means the document that EPA

 issues to a vehicle or engine manufacturer to certify that a vehicle or engine class conforms to

 EPA emissions control requirements, as provided in 40 C.F.R. Subchapters C and U.

                p.      “Class Action Settlement” means the Class Action Settlement Agreement

 resolving claims against Defendants by owners and lessees of Subject Vehicles, approved by the

 U.S. District Court for the Southern District of Florida on April 1, 2024, in Express Freight

 International, et al. v. Hino Motors, Ltd. et al., No. 1:22-cv-22483-Gayles/Torres (S.D. Fla.).

                q.      “Clean Air Act” or “Act” means 42 U.S.C. §§ 7401–7671q.

                r.      “Complaints” means the U.S. Complaint and the California Complaint.

                s.      “Compliance Incentive Program” has the meaning provided in

 Paragraph 45.c.

                t.      “Compliance Standards” has the meaning provided in Paragraph 44.d.




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                u.      “Confidential Business Information” or “CBI” means information

 protected under 40 C.F.R. Part 2 and/or comparable California law, including California

 Government Code Section 7920.000 et seq. and 17 C.C.R. §§ 91000 et seq.

                v.      “Consent Decree” or “Decree” means this Consent Decree and all

 appendices attached hereto, listed in Section XXV (Appendices).

                w.      “Coordinated Settlements” means six coordinated resolutions of federal

 civil and criminal claims by the United States and federal citizen-suit and state civil claims by

 California, including: (i) a Plea Agreement, resolving criminal claims as set forth therein by the

 United States on behalf of EPA, NHTSA, and CBP; (ii) this Consent Decree, resolving civil

 claims as set forth herein of the United States on behalf of EPA; (iii) the California Partial

 Consent Decree; (iv) the California Attorney General Agreement; (v) the CBP Agreement; and

 (vi) the NHTSA Agreement.

                x.      “Corporate Compliance Plan” has the meaning provided under

 Paragraph 49.c (Corporate Compliance Plan and Annual Reviews).

                y.      “Corporate Compliance Provisions” means the compliance measures

 provided in Section VI.B (Corporate Compliance).

                z.      “Corporate Compliance Report” has the meaning provided under

 Paragraph 49.b (Reporting Requirements for Corporate Compliance).

                aa.     “Credited Vehicle” means an Eligible Vehicle that has received the

 Approved Emission Modification by the Recall Target Deadline specified in Paragraph 31 or a

 Subject Vehicle that is designated as an Ineligible Vehicle by the Recall Target Deadline

 specified in Paragraph 31.



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                  bb.   “Date of Lodging” means the date this Consent Decree is lodged with the

 Court.

                  cc.   “Day” means a calendar day unless expressly stated to be a Business Day.

 In computing any period of time for a deadline under this Consent Decree, where the last day

 would fall on a Saturday, Sunday, a federal holiday, or a California holiday, the period runs until

 the close of business of the next Business Day. The time in which any act provided by this

 Consent Decree is to be done is computed by excluding the first day, and including the last,

 unless the last day is a Saturday, Sunday, a federal holiday, or California holiday, and then it is

 also excluded.

                  dd.   “Dealer” means any entity or individual authorized by Defendants to sell

 and service Hino brand engines or vehicles in the United States.

                  ee.   “Defeat Device” has the meaning provided under 40 C.F.R. § 86.004-2.

                  ff.   “Defendants” or “Hino” means Hino Motors, Ltd. (“HML”), Hino Motors

 Manufacturing U.S.A., Inc. (“HMM”), and Hino Motors Sales U.S.A., Inc. (“HMS”).

                  gg.   “DOJ” means the United States Department of Justice and any of its

 successor departments or agencies.

                  hh.   “Effective Date” means the date upon which this Consent Decree is

 entered by the Court or a motion to enter the Consent Decree is granted, whichever occurs first,

 as recorded on the Court’s docket, under Section XVI (Effective Date).

                  ii.   “Eligible Lessee” means: (1) a current lessee of a Subject Vehicle with an

 active lease as of the Date of Lodging, and any subsequent lessee of that vehicle; and (2) solely

 for purposes of any applicable Extended Warranty for Modified Vehicles, a lessee of an Eligible

 Vehicle that has received an applicable Approved Emission Modification.

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                jj.    “Eligible Owner” means: (1) the owner or owners of a Subject Vehicle as

 of the Date of Lodging, and any subsequent owner or owners of that vehicle; and (2) solely for

 purposes of any applicable Extended Warranty for Modified Vehicles, the owner or owners of an

 Eligible Vehicle that has received an applicable Approved Emission Modification.

                kk.    “Eligible Vehicle” means a Subject Vehicle that is eligible for an

 Approved Emission Modification that is: (1) registered with a state department of motor vehicles

 (“DMVs”) or equivalent agency or held by a Dealer or unaffiliated dealer and located in the

 United States; (2) Operable as of the date the vehicle is brought in for an applicable Approved

 Emission Modification; and (3) operates with an automatic transmission.

                ll.    “Emission Control System” means all emission control devices, auxiliary

 emission control devices, engine modifications and strategies, and other elements of design that

 are used to control exhaust emissions of a vehicle.

                mm.    “Emission Modification Program” is the program required under

 Section VI.A (Engine Compliance).

                nn.    “Engine Family” means a collection of engines grouped for certification

 and compliance purposes that are expected to have similar emission characteristics throughout

 their useful life. Each Engine Family is assigned a unique alphanumeric Engine Family name

 that begins with a one-digit Model Year date code.

                oo.    “EPA” means the United States Environmental Protection Agency and any

 of its successor departments or agencies.

                pp.    “Executive Order” means an order issued by CARB to certify a particular

 Model Year Engine Family in combination with one or more evaporative families that meets



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 CARB regulatory requirements for sale, lease, importation into, and entry into commerce in

 California.

                qq.     “Extended Warranty for Modified Vehicles” means the warranty provided

 pursuant to Paragraph 32.

                rr.     “Extended Warranty for Subject Vehicles” means the warranty provided

 pursuant to Paragraph 33.

                ss.     “Extended Warranty Programs” means the Extended Warranty for Subject

 Vehicles and the Extended Warranty for Modified Vehicles, under Paragraph 21.c.

                tt.     “External Compliance Consultant” has the meaning provided in

 Paragraph 49.a.

                uu.     “Field Fix” has the meaning pursuant to 40 C.F.R. § 86.1842-01(b),

 13 C.C.R. §§ 1961(d), 1961.2(d), CARB Manufacturer’s Advisory Correspondence #79-002,

 “Field Fixes Involving Emission-Related Components” (Jan. 31, 1979), and/or EPA Advisory

 Circular 2B, Field Fixes Related to Emission Control-Related Components dated March 17,

 1975, as applicable.

                vv.     “Financial Information” means the documentation identified in

 Appendix D, which was submitted to the United States by Defendants and which Defendants

 assert includes Confidential Business Information.

                ww.     “Heavy-duty Engine” has the meaning set forth in 40 C.F.R. § 86.082-2.

                xx.     “Hino Recall Website” has the meaning provided in Paragraph 38.a.

                yy.     “Independent Compliance Auditor” has the meaning provided under

 Paragraph 50.f (Independent Compliance Auditor).



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                 zz.     “Ineligible Vehicle” means any Eligible Vehicle on which the Defendants

 are not required to install an applicable Approved Emission Modification, as provided in

 Paragraph 29.

                 aaa.    “J05E Recall Group” means Subject Vehicles equipped with Model Year

 2017−2019 J05E engines from the following Engine Families: HHMXH05.1JTP,

 JHMXH05.1JTP, and KHMXH05.1JTP.

                 bbb.    “J08E Recall Group” means Subject Vehicles equipped with Model Year

 2017−2019 J08E engines from the following Engine Families: HHMXH07.7JVB,

 HHMXH07.7JWU, JHMXH07.7JVB, and KHMXH07.7JVB, excluding those engines with

 manual transmissions.

                 ccc.    “Line-haul locomotive” means a locomotive that does not meet the

 definition of switch locomotive in 40 C.F.R. § 1033.901, as provided in Paragraph 56.c (Line-

 Haul Locomotive Projects).

                 ddd.    “Line-Haul Locomotive Project” means a U.S. Mitigation Project to

 repower or replace a line-haul locomotive, so that the repowered or replaced locomotive has a

 new upgraded engine certified to EPA Tier 4 or more stringent locomotive emission standards,

 under 40 C.F.R. § 1033.101, pursuant to Paragraph 56.c (Line-Haul Locomotive Projects).

                 eee.    “Marine Project” means a U.S. Mitigation Project to repower or replace a

 marine vessel used as a tugboat, towboat, or dredge, so that the repowered or replaced vessel has

 a new upgraded engine certified to EPA Tier 4 or more stringent locomotive emission standards,

 under 40 C.F.R. § 1042, Subpart B, pursuant to Paragraph 56.e (Marine Projects).

                 fff.    “Mitigation Implementation Plan” means the plan Defendants must submit

 under Paragraph 53 for implementation of the U.S. Mitigation Program.

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               ggg.    “Mitigation Project” means a locomotive or marine vessel repower,

 replacement, or idle reduction project funded and completed as part of the U.S. Mitigation

 Program, described in Paragraphs 55–57.

               hhh.    “Model Year” or “MY” has the meaning provided under 40 C.F.R.

 § 86.082-2 when applied to Heavy-duty Engines and has the meaning provided under 40 C.F.R.

 § 1039.801 when applied to Nonroad Engines.

               iii.    “Modified Vehicle” means an Eligible Vehicle which received an

 Approved Emission Modification.

               jjj.    “National Credited Vehicles” has the meaning provided under

 Paragraph 31.a.

               kkk.    “National Recall Target Rate” means the nationwide Emission

 Modification implementation rate of at least 85% of Eligible Vehicles in the J05E Recall Group

 in the United States, and 85% of the Eligible Vehicles in the J08E Recall Group in the United

 States specified in Consent Decree Paragraph 31.

               lll.    “NHTSA” means the National Highway Traffic Safety Administration, a

 component of the United States Department of Transportation, and any of its successor

 departments or agencies.

               mmm. “NHTSA Agreement” means the administrative settlement agreement

 between NHTSA and Defendants resolving civil claims as set forth therein of NHTSA against

 Defendants, which is part of the Coordinated Settlements.

               nnn.    “Nonroad Engine” has the meaning set forth in 40 C.F.R. § 1039.801.




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                ooo.    “NOx” means oxides of nitrogen, i.e., the sum of the nitric oxide and

 nitrogen dioxide contained in a gas sample as if the nitric oxide were in the form of nitrogen

 dioxide.

                ppp.    “On-Board Diagnostic System” or “OBD System” means all hardware,

 components, parts, sensors, subassemblies, software, AECDs, calibrations, and other elements of

 design that collectively constitute the system for monitoring all systems and components that

 must be monitored pursuant to the version of 13 C.C.R. § 1971.1 applicable at the time of

 certification for the particular Model Year of a Subject Engine, for the purpose of identifying and

 detecting malfunctions of such monitored systems and components, and for alerting the driver of

 such potential malfunctions by illuminating the vehicle’s malfunction indicator light (“MIL”).

                qqq.    “Operable” means able to be driven under a vehicle’s own engine power.

                rrr.    “Paragraph” means a portion of this Consent Decree identified by an

 Arabic numeral.

                sss.    “Particulate Matter” or “PM” means particulates formed during the diesel

 combustion process and measured by the procedures specified in 40 C.F.R. Part 86, Subpart B.

                ttt.    “Parties” means the United States, California, and Defendants.

                uuu.    “Plaintiffs” means the United States and California.

                vvv.    “Proposed Emission Modifications” means the proposed modifications,

 alterations, repairs, corrections, adjustments, or other proposed changes to vehicles in the J05E

 Recall Group and the J08E Recall Group, designed to bring the vehicles into compliance with

 applicable emission standards, that Defendants must submit to OTAQ and CARB pursuant to

 Paragraph 22 (Administrative Recall Process).



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                www. “Recall Target Deadline” means the date by which the Defendants shall

 meet the National Recall Target Rate and California Recall Target Rate under Paragraph 31.

                xxx.    “Record” or “Records” means documents, records, reports, or other

 information (in hard-copy or electronic form) and all non-identical copies thereof.

                yyy.    “Remedial Plan” means a plan, including all elements set forth in

 42 C.F.R. § 1068.510 and 13 C.C.R. § 2114(a)(1−9), that Defendants are required to submit to

 OTAQ and CARB in the administrative recall process, pursuant to Paragraph 22.a (Remedial

 Plans).

                zzz.    “Required Trainees” means trainees required to receive Technical

 Compliance Training under Paragraph 46.a (Technical Compliance Training).

                aaaa. “Running Change” has the meaning provided under 40 C.F.R. § 86.1803-

 01.

                bbbb. “Section” means a portion of this Consent Decree identified by a Roman

 numeral or a section of a statute or regulation, as applicable.

                cccc. “Subject Engines” means any engines identified in Appendix A. These

 engines (i) were sold or offered for sale in, or introduced or delivered for introduction into

 commerce in, the United States, or imported into the United States by Hino; and (ii) are or were

 purported by Hino to have been covered by the COCs for EPA Engine Families listed in

 Appendix A, including such engines sub-categorized as a Subject Highway Engine or Subject

 Nonroad Engine.

                dddd. “Subject Highway Engine” means the subset of Subject Engines identified

 in Appendix A that are categorized as “Highway.”



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                eeee. “Subject Nonroad Engine” means the subset of Subject Engines identified

 in Appendix A that are categorized as “Nonroad.”

                ffff.   “Subject Vehicle” means any vehicle that (i) contains a Subject Highway

 Engine and (ii) was sold or offered for sale, or introduced or delivered for introduction into

 commerce, in the United States or its Territories, or registered in the United States or its

 Territories, or imported into the United States or its Territories.

                gggg. “Submission” means any document, certification, plan, report,

 notification, statement of position, data, application, or other item or information that is required

 to be submitted for review or approval pursuant to this Consent Decree.

                hhhh. “Supplemental Compliance Plan” means a supplemental compliance plan

 to be submitted by Defendants to the United States, EPA, and CARB for their review and

 approval, in the event Defendants resume applications for EPA COCs or CARB Executive

 Orders for internal combustion engines, including provisions for retention and oversight of an

 Independent Compliance Auditor and for U.S. Environmental Law compliance assurance, under

 Paragraph 50 (Future Engine Certification and Independent Compliance Auditor).

                iiii.   “Supplemental Compliance Report” means the supplemental compliance

 report submitted by an Independent Compliance Auditor to the United States, EPA, CARB, and

 Defendants, in accordance with the Supplemental Compliance Plan, under Paragraph 50.f

 (Independent Compliance Auditor).

                jjjj.   “Switch Locomotive” means a locomotive used in freight yards to

 assemble and disassemble trains, or used for short hauls of small trains, powered by an engine

 with a maximum rated power (or a combination of engines having a total rated power) of 2,300



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 horsepower or less, as provided under 40 C.F.R. § 1033.901 and referenced in Paragraph 56.b

 (Switch Locomotive Projects).

                kkkk. “Switch Locomotive Idle Reduction Project” means a U.S. Mitigation

 Project that reduces idling time, fuel usage, and pollutant emissions by outfitting a switch

 locomotive with an Automatic Engine Shutdown / Startup (“AESS”) system that relies on zero-

 emission auxiliary power, pursuant to Paragraph 56.d (Switch Locomotive Idle Reduction

 Projects).

                llll.   “Switch Locomotive Project” means a U.S. Mitigation Project to repower

 or replace a switch locomotive, so that the repowered or replaced locomotive has a new upgraded

 engine certified to EPA Tier 4 or more stringent locomotive emission standards, under 40 C.F.R.

 § 1033.101, pursuant to Paragraph 56.b (Switch Locomotive Projects).

                mmmm.          “Technical Compliance Audit” means an internal technical

 compliance risk audit conducted by Defendants at least annually, under Paragraph 47 (Risk

 Management and Auditing).

                nnnn. “Technical Compliance Training” means the technical compliance training

 for Required Trainees under Paragraph 46.a (Technical Compliance Training).

                oooo. “United States” or “U.S.” means the United States of America, acting on

 behalf of EPA. For purposes of this Consent Decree, geographic references to the “United

 States” shall mean the United States of America’s 50 states, District of Columbia, and

 permanently inhabited territories of American Samoa, Guam, the Northern Mariana Islands,

 Puerto Rico, and the U.S. Virgin Islands.

                pppp. “U.S. Complaint” means the complaint filed by the United States in this

 action.

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                qqqq. “U.S. Environmental Law” means United States and California

 environmental laws and regulations related to vehicle and engine certification and emissions, as

 applicable depending on whether and when Defendants resume applications for new EPA COCs

 or CARB Executive Orders for internal combustion engines (including, e.g., engines fueled by

 diesel or gasoline).

                rrrr.   “U.S. Mitigation Program” means the program to reduce emissions from

 locomotives and marine vessels, as described in Section VII (Mitigation).

                ssss.   “VIN” means vehicle identification number, as defined in 49 C.F.R.

 § 565.12.

                tttt.   “Whistleblower Systems” has the meaning provided in Paragraph 45.b.

                                        IV.     CIVIL PENALTY

        10.     Civil Penalty Payments Under this Consent Decree. Defendants provided

 Financial Information that demonstrates that Defendants have a limited ability to pay a civil

 penalty at this time. Within 30 Days of the Effective Date, Defendants shall pay the sum of

 $525,000,000 as a civil penalty, together with interest accruing from the Date of Lodging, at the

 rate specified in 28 U.S.C. § 1961. Defendants are jointly and severally liable for payment of the

 civil penalty, as required by this Section. The civil penalty payment required under this

 Paragraph will be divided between the United States and CARB as follows:

                a.      Defendants shall pay the United States $442,500,000 (together with the

 accrued interest on that amount).

                b.      Defendants shall pay CARB $82,500,000 (together with the accrued

 interest on that amount).



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                 c.     The civil penalty in this Paragraph 10 resolves the civil claims of (i) EPA,

 as provided in this Consent Decree; (ii) CBP, as provided in the CBP Agreement; (iii) NHTSA,

 as provided in the NHTSA Agreement; and (iv) CARB, as provided in the California Partial

 Consent Decree. All of these decrees and agreements are part of the Coordinated Settlements.

        11.      Instructions for Payment to the United States.

                 a.     Defendants shall pay the amount set forth in Paragraph 10.a to the United

 States by FedWire Electronic Funds Transfer to the DOJ account, in accordance with instructions

 provided to Defendants by the United States Attorney’s Office for the Eastern District of

 Michigan after the Effective Date. The payment instructions provided by the United States

 Attorney’s Office will include a CDCS number, which Defendants shall use to identify all

 payments required to be made in accordance with this Consent Decree. The United States

 Attorney’s Office will provide the payment instructions to:

                        Hino Motors, Ltd.
                        3-1-1, Hinodai, Hino-Shi, Japan
                        Attention: Satoshi Misawa
                        Email: satoshi.miasawa@hino.co.jp

 on behalf of Defendants no later than five Business Days after the Effective Date. Defendants

 may change the individual to receive payment instructions on its behalf by providing written

 notice of such change to DOJ and EPA in accordance with Section XV (Notices and

 Submissions).

                 b.     At the time of payment to the United States, Defendants shall send notice

 that payment has been made: (i) to EPA via email at cinwd_acctsreceivable@epa.gov or via

 regular mail at EPA Cincinnati Finance Office, 26 W. Martin Luther King Drive, Cincinnati,

 Ohio 45268; (ii) to EPA via email or regular mail in accordance with Section XV (Notices and


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 Submissions); and (iii) to DOJ via email or regular mail in accordance with Section XV (Notices

 and Submissions). Such notice shall state that the payment is for the civil penalty owed pursuant

 to the Consent Decree in United States v. Hino Motors, Ltd. et al. and shall reference the civil

 action number, CDCS Number, and DOJ case number 90-5-2-1-12485.

        12.     Instructions for Payment to CARB.

                a.      Defendants shall pay the amount set forth in Paragraph 10.b to the

 “California Air Resources Board” by check, accompanied by a Payment Transmittal Form

 (which CARB will provide to the addressee listed in Paragraph 11.a no later than five Business

 Days after the Effective Date), with the check mailed to:

                        California Air Resources Board
                        Accounting Office
                        P.O. Box 1436
                        Sacramento, CA 95812-1436

 or by wire transfer, in which case Defendants shall use the following wire transfer information

 and send the Payment Transmittal Form to the above address prior to each wire transfer:

                        State of California Air Resources Board
                        c/o Bank of America, Inter Branch to 0148
                        Routing No. 0260-0959-3; Account No. 01482-80005
                        Notice of Transfer: Accounting; Fax: (916) 322-9612
                        Reference: United States v. Hino Motors, Ltd. et al., CARB Case C00323

 Defendants are responsible for any bank charges incurred for processing wire transfers, and for

 replacing any checks due to a check bouncing or being lost in the mail.

                b.      Penalties paid to CARB under this Consent Decree shall be deposited into

 the Air Pollution Control Fund for the purpose of enhancing CARB’s mobile source emissions

 control program through additional certification review, in-use evaluation, real-world testing,

 enforcement actions, and other CARB activities related to the control of air pollution.


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         13.      At the time of payment to CARB, Defendants shall send electronic notice that

 payment has been made to CARB by email in accordance with Section XV (Notices and

 Submissions).

         14.      Defendants shall not deduct any penalties paid under this Consent Decree

 pursuant to this Section IV (Civil Penalty) or Section IX (Stipulated Penalties), or the accrued

 interest on such penalties, in calculating its federal, state, or local income tax.

           V.      APPROVAL OF SUBMISSIONS; U.S./EPA/CARB DECISION-MAKING

         15.      For purposes of this Consent Decree, unless otherwise specified in this Consent

 Decree:

                  a.     with respect to any Submission, other obligation that requires approval or

 other decision by Plaintiffs, or force majeure claim of Defendants that concerns Section IV (Civil

 Penalty), Section VI (Compliance Requirements) except for Paragraph 22 (Administrative Recall

 Process), Section XVIII (Modification), or Section XIX (Termination), the United States, EPA,

 and CARB shall issue a joint decision concerning the Submission, other obligation, or force

 majeure claim;

                  b.     with respect to any Submission, other obligation that requires approval or

 other decision by Plaintiffs, or force majeure claim of Defendants regarding Section VII

 (Mitigation), EPA or the United States shall issue a decision concerning the Submission, other

 obligation, or force majeure claim;

                  c.     with respect to any other Submission, obligation that requires approval or

 decision by Plaintiffs, or force majeure claim of Defendants under this Consent Decree, the

 position of EPA or the United States, after consultation with CARB, shall control.



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        16.     Except as otherwise specified, after review of any Submission, EPA and/or

 CARB shall in writing: (i) approve the Submission; (ii) approve the Submission upon specified

 conditions; (iii) approve part of the Submission and disapprove the remainder; or (iv) disapprove

 the Submission. In the event of an approval upon specified conditions or a disapproval, in full or

 in part, of any portion of the Submission, if not already provided with the EPA and/or CARB

 written decision, upon the request of Defendants, EPA and/or CARB will provide in writing the

 reasons for such specified conditions or disapproval.

        17.     If the Submission is approved pursuant to (i) in Paragraph 16 above, Defendants

 shall take all actions required by the Submission, in accordance with the schedules and

 requirements of the Submission, as approved. If the Submission is conditionally approved or

 approved only in part pursuant to (ii) or (iii) in Paragraph 16 above, Defendants shall, upon

 written direction from EPA and/or CARB, take all actions required by the Submission that EPA

 and/or CARB determine(s) are technically severable from any disapproved portions, subject to

 Defendants’ right to dispute only the conditions that EPA and/or CARB specified or the

 disapproved portions, under Section XI (Dispute Resolution).

        18.     If the Submission is disapproved, in whole or in part pursuant to (iii) or (iv) in

 Paragraph 16 above, Defendants shall, within 45 Days or such other time as the Parties agree to

 in writing, correct all deficiencies and resubmit the Submission, or disapproved portion thereof,

 for approval, in accordance with Paragraph 16. If the resubmission is approved in whole or in

 part, Defendants shall proceed in accordance with Paragraph 17.

        19.     If a resubmitted Submission is disapproved, in whole or in part, EPA and/or

 CARB may again require Defendants to correct any deficiencies, in accordance with

 Paragraph 18; or EPA and/or CARB may itself/themselves correct any deficiencies, and

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 Defendants shall implement the Submission as modified by EPA and/or CARB, subject to

 Defendants’ right to invoke the dispute resolution procedures set forth in Section XI (Dispute

 Resolution) and the right of EPA and/or CARB to seek stipulated penalties.

        20.     Any stipulated penalties applicable to the original Submission, as provided in

 Section IX (Stipulated Penalties), shall accrue during the 45-Day period or such other time as the

 Parties agreed to in writing pursuant to Paragraph 18, but shall not be payable unless the

 resubmission of the original Submission is untimely or is disapproved in whole or in part;

 provided that, if EPA or the United States, in consultation with CARB, determines that the

 original Submission was so deficient as to constitute a material breach of Defendants’

 obligations under this Consent Decree, the stipulated penalties applicable to the original

 submission shall be due and payable notwithstanding any subsequent resubmission. In the event

 that EPA or the United States seeks stipulated penalties under this Paragraph, upon request of

 Defendants, EPA or the United States will provide in writing the reasons for such a finding of

 material deficiency, if not already provided with the EPA and/or CARB written decision.

                               VI.    COMPLIANCE REQUIREMENTS

        A.      Engine Compliance.

        21.     Establishment and Maintenance of Emission Modification and Extended
                Warranty Programs.

                a.      As provided in this Section VI.A, Defendants shall establish and maintain

 an Emission Modification Program for the J05E Recall Group and the J08E Recall Group which

 requires Defendants to notify each Eligible Owner and Eligible Lessee about the applicable

 Emission Modification for their Eligible Vehicle and enables owners and lessees to obtain an

 Emission Modification for their Eligible Vehicle.


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                 b.     As described and provided by Paragraph 27, Defendants shall make the

 Emission Modification available to all Eligible Owners and Eligible Lessees at no cost.

 Defendants shall ensure that no consumer payment or release of any Eligible Owner’s or Eligible

 Lessee’s rights or claims shall be required in exchange for performing the Emission

 Modification.

                 c.     Defendants shall establish and maintain extended warranty programs that

 are available at no cost, and shall ensure that no consumer payment or release of any rights or

 claims shall be required in exchange for providing the applicable warranties, as provided in

 Paragraphs 32-35 (“Extended Warranty Programs”).

                 d.     As provided in Paragraph 38, Defendants shall make information

 regarding the Emission Modification and the Extended Warranty Programs available online on a

 publicly available website that provides vehicle-specific information searchable by VIN.

                 e.     The requirements outlined in this Paragraph shall continue in full force

 and effect after termination of the Consent Decree.

        22.      Administrative Recall Process.

                 a.     Remedial Plans. Defendants shall submit to OTAQ and CARB Remedial

 Plans for the J05E Recall Group and the J08E Recall Group pursuant to the voluntary recall

 provisions of 40 C.F.R. Part 1068, Subpart F, and 13 C.C.R. §§ 2111−20. Each Remedial Plan

 shall contain the information required in 40 C.F.R. § 1068.510(a)(1−13) and 13 C.C.R.

 § 2114(a)(1−9), and a certification in the same form as the one required for semi-annual reports

 under Paragraph 66.

                 b.     Proposed Emission Modifications. As part of each Remedial Plan,

 Defendants shall submit to OTAQ and CARB proposed modifications, alterations, repairs,

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 corrections, adjustments, or other proposed changes (“Proposed Emission Modifications”)

 designed to bring the vehicles within the J05E Recall Group and the J08E Recall Group into

 compliance with applicable emission standards.

                c.     All proposed Remedial Plans and Proposed Emission Modifications

 submitted pursuant to Paragraphs 22.a and 22.b above are subject to review and approval by

 OTAQ and CARB pursuant to the administrative recall process under 40 C.F.R. Part 1068,

 Subpart F, and 13 C.C.R. §§ 2111−20.

                d.     All submissions to OTAQ and CARB in the administrative recall process

 shall be subject to review and approval as specified in 40 C.F.R. Part 1068, Subpart F, and

 13 C.C.R. §§ 2111−20, not under Section V (Approval of Submissions; U.S./EPA/CARB

 Decision-Making) of this Consent Decree. Any disputes that arise in the administrative recall

 process shall be resolved in accordance with 40 C.F.R. Part 1068, Subpart F, and 13 C.C.R.

 §§ 2111−20, not under Section XI (Dispute Resolution) of this Consent Decree.

        23.     Consent Decree Recall Requirements. The remaining Paragraphs in this Section,

 below, specify additional requirements for the recall process. To the extent these Consent Decree

 requirements conflict with the regulations, the Consent Decree requirements shall control.

        24.     Submission Deadlines. Defendants shall submit each Remedial Plan required

 under Paragraph 22 as soon as possible, but no later than eight months after the Date of Lodging.

        25.     Certification of No Defeat Devices or Undisclosed AECDs. Defendants shall

 certify in each Remedial Plan that the Proposed Emission Modification will not contain any

 Defeat Device or undisclosed AECD.

        26.     Deadline for Obtaining Approval of Remedial Plans. In the administrative recall

 process, Defendants shall use their best efforts to obtain approval by OTAQ and CARB of each

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 applicable Remedial Plan as soon as possible. In the case that an applicable Remedial Plan

 submitted pursuant to Paragraphs 22–25 has not been approved by OTAQ and CARB 14 months

 from the Date of Lodging, Defendants shall be liable for stipulated penalties under Paragraphs 73

 and 75.

           27.   Availability of Approved Emission Modification. Within 30 Days of approval of a

 Remedial Plan by EPA and CARB, Defendants shall make the Approved Emission Modification

 available to all Eligible Owners and Eligible Lessees at no cost, for 15 years after the Model

 Year of the Subject Vehicle or eight years after the approval of the applicable Approved

 Emission Modification, whichever is later. As long as any parts necessary for the Approved

 Emission Modification are available after these time periods, Defendants shall continue to make

 the Approved Emission Modification available to Eligible Owners and Eligible Lessees.

 Defendants shall ensure that no consumer payment or release of any Eligible Owner’s or Eligible

 Lessee’s rights or claims shall be required in exchange for performing the Approved Emission

 Modification.

           28.   For Eligible Vehicles registered in California, Defendants shall state in all notices

 sent to Eligible Owners or Eligible Lessees that the Approved Emission Modification is

 voluntary and not required for Eligible Owners or Eligible Lessees to register their Eligible

 Vehicles with the California DMV. Defendants shall not take any action to prevent Eligible

 Owners or Eligible Lessees from registering their Eligible Vehicles in California based on the

 Eligible Owner’s or Eligible Lessee’s decision not to receive the Approved Emission

 Modification.

           29.   Grounds for Refusal to Apply the Modification to an Eligible Vehicle. If an

 Eligible Vehicle has been altered with the use of any after-market emissions-related components,

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 parts, or software or the removal of any original emissions-related components, parts, or

 software, and such alteration(s) are likely to substantially affect the operation of the vehicle with

 an Approved Emission Modification or substantially impede installation of an Approved

 Emission Modification, then Defendants shall not be required to install an Approved Emission

 Modification on the Eligible Vehicle until the owner or lessee of such vehicle, at his or her

 expense, has reversed the alteration(s) such that an Approved Emission Modification may be

 installed and not be substantially affected. Any such vehicle shall be considered an “Ineligible

 Vehicle” until the owner or lessee has completed such reversal.

           30.   Notice of Ineligibility. If an Eligible Vehicle is presented for an Approved

 Emission Modification and the vehicle is, in fact, an Ineligible Vehicle, in accordance with

 Paragraph 29, Defendants shall provide written notice to the owner or lessee that the vehicle is

 ineligible for an Approved Emission Modification and the alterations that would be necessary to

 render it an Eligible Vehicle.

                 a.      On a semi-annual basis, Defendants shall submit to EPA a list of Ineligible

 Vehicles for which Defendants have provided such an ineligibility notice and a copy of each

 ineligibility notice.

                 b.      On a semi-annual basis, Defendants shall submit to CARB a list of

 Ineligible Vehicles, including VIN numbers, that were registered with the California DMV at the

 time that Defendants generated an ineligibility notice and a copy of every such ineligibility

 notice.

           31.   Emission Modification Program Rate. Within three years after EPA and CARB

 approve the applicable Remedial Plan (the “Recall Target Deadline”), Defendants shall ensure

 the installation of an Approved Emission Modification in at least 85% of Eligible Vehicles in the

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 J05E Recall Group, and 85% of the Eligible Vehicles in the J08E Recall Group, in the United

 States (the “National Recall Target Rate”) and in California (the “California Recall Target

 Rate”).

                a.        For purposes of this Paragraph, “National Credited Vehicles” shall be

 defined as the sum of:

                          1)     the number of Eligible Vehicles nationwide in each group (the

 J05E Recall Group and the J08E Recall Group) that have received the Approved Emission

 Modification by the applicable Recall Target Deadline; and

                          2)     the number of Subject Vehicles nationwide in each group (the

 J05E Recall Group and the J08E Recall Group) that are Ineligible Vehicles.

                b.        For purposes of this Paragraph, “California Credited Vehicles” shall be

 defined as the sum of:

                          1)     the number of Eligible Vehicles in each group (the J05E Recall

 Group and the J08E Recall Group) registered with the California DMV that have received the

 Approved Emission Modification by the applicable Recall Target Deadline; and

                          2)     the number of Subject Vehicles in each group (the J08E Recall

 Group and the J08E Recall Group) registered with the California DMV that are Ineligible

 Vehicles.

                c.        To assess Defendants’ progress toward and achievement of the National

 Recall Target Rate for an Approved Emission Modification, the number of National Credited

 Vehicles in each group (the J05E Recall Group and the J08E Recall Group) shall be divided by

 the agreed-upon baseline total of National Eligible Vehicles for that group, which reflects



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 estimated attrition. For the J05E Recall Group that baseline total of National Eligible Vehicles is

 12,717. For the J08E Recall Group that baseline total of National Eligible Vehicles is 30,738.

                d.       To assess Defendants’ progress toward and achievement of the California

 Recall Target Rates for an Approved Emission Modification, the number of California Credited

 Vehicles for each group (the J05E Recall Group and the J08E Recall Group) shall be divided by

 the total number of California Eligible Vehicles for that group, as determined by the number of

 such vehicles registered with the California DMV on the date three years after the Emission

 Modification was approved by EPA and CARB.

        32.     Extended Warranty for Modified Vehicles. Defendants shall provide an Extended

 Warranty for each Eligible Vehicle that has received an Approved Emission Modification

 (“Modified Vehicle”).

                a.       Extended Warranty Coverage for Modified Vehicles. The Extended

 Warranty for Modified Vehicles shall cover the parts listed in Appendix B, subject to standard

 limitations of which Defendants must notify Eligible Owners and Eligible Lessees. Those

 limitations may set forth exclusions such as accident, abuse, neglect, or installation of

 unexempted parts (as that term is described in 13 C.C.R. § 2036(d)(10)). The Extended Warranty

 is also subject to any pre-existing warranty provisions covering the Modified Vehicles that

 remain in effect during the Extended Warranty period specified in Paragraph 32.b. The Extended

 Warranty for Modified Vehicles shall cover the costs of all parts and labor needed to repair the

 parts listed in Appendix B, including diagnostic services and On-Board Diagnostic (“OBD”)

 scans. Defendants shall not impose on consumers any fees or charges and shall pay any fees or

 charges imposed on consumers by Dealers related to the Extended Warranty service.



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                b.      Extended Warranty Period for Modified Vehicles. The Extended Warranty

 period for Modified Vehicles shall be five years from the date of installation of the applicable

 Approved Emission Modification and shall continue after termination of this Consent Decree

 under Section XIX (Termination). For any Eligible Vehicle that receives the Approved Emission

 Modification after the Recall Target Deadline, the Extended Warranty period shall apply, but in

 no event shall the Extended Warranty period extend past January 17, 2035.

        33.     Extended Warranty for Subject Vehicles. No later than the Date of Lodging,

 Defendants shall provide an Extended Warranty for each Subject Vehicle.

                a.      Extended Warranty Coverage for Subject Vehicles. The Extended

 Warranty for Subject Vehicles shall cover the parts listed in Appendix C, subject to standard

 limitations about which Defendants must notify all owners and lessees of Subject Vehicles.

 Those limitations may set forth exclusions like accident, abuse, neglect, or installation of

 unexempted parts (as that term is described in 13 C.C.R. § 2036(d)(10)). The Extended Warranty

 is also subject to any applicable existing warranty provisions covering the Subject Vehicles that

 will remain in effect during the Extended Warranty period specified in Appendix C. The

 Extended Warranty for Subject Vehicles shall cover the costs of all parts and labor needed to

 repair the items listed in Appendix C, including diagnostic services and OBD scans. Defendants

 shall not impose on consumers any fees or charges and shall pay any fees or charges imposed on

 consumers by Dealers related to the Extended Warranty service.

                b.      Extended Warranty Period for Subject Vehicles. The warranty period for

 the Extended Warranty for Subject Vehicles is as provided in Appendix C, regardless of miles

 accumulated by the Subject Vehicle.



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        34.     Related Class Action Settlement. Defendants may satisfy any warranty obligation

 under Paragraphs 32 and 33 by fulfilling an equivalent warranty obligation under the related

 Class Action Settlement or other warranty program. To the extent the Class Action Settlement or

 this Consent Decree contains terms for warranty coverage that are more favorable to Eligible

 Owners and Eligible Lessees, the more favorable warranty provisions shall control.

        35.     Other Warranty-Related Terms and Conditions.

                a.      The extended warranties in Paragraphs 32 and 33 shall not modify, limit,

 or affect any state, local, or federal legal rights available to the Eligible Owners or Eligible

 Lessees. The warranties shall be subject to any remedies provided by state or federal laws, such

 as the Magnuson-Moss Warranty Act, that provide consumers with protections, including

 without limitation “Lemon Law” protections, with respect to warranties.

                b.      In no event shall warranty coverage under the Extended Warranty for

 Modified Vehicles or the Extended Warranty for Subject Vehicles be subject to service writers’

 discretion.

                c.      Neither the Extended Warranty for Modified Vehicles, the Extended

 Warranty for Subject Vehicles, and nor the installation of an Approved Emission Modification

 shall supersede or void any outstanding warranty.

        36.     Subsequent Emission Modification Adjustments to Subject Engines.

                a.      Prohibited Adjustments. Defendants shall not participate in any service

 campaign to adjust or modify the Emission Control System in any Modified Vehicle in a manner

 that may impair, decrease, or degrade the emission control performance of the Subject Engine’s

 Emission Control System, or to install a configuration or calibration that contains a Defeat



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 Device or an undisclosed AECD. Nothing in this Paragraph is intended to restrict Defendants’

 ability to perform normal course repairs or to service engines.

                 b.     Modifications Pursuant to NHTSA Safety Recall.

                        1)      Notwithstanding Paragraph 36.a, Defendants may implement any

  modification to the Subject Engines that has been reported to NHTSA as part of a safety recall

  in accordance with 49 C.F.R. Part 573 (“Part 573 Report”).

                        2)      On the day of submission to NHTSA of any Part 573 Report,

 Defendants shall send written notification to EPA and CARB that Defendants intend to

 implement a modification pursuant to a safety recall and attach a copy of the Part 573 Report to

 the notification.

                        3)      No later than 90 Days after submitting the Part 573 Report to EPA

 and CARB, Defendants shall submit a follow-up notification to EPA and CARB that indicates

 whether the safety-related modification includes an Emission Control System- or OBD System-

 related calibration or hardware change to the Approved Emission Modification. If the safety-

 related modification includes an Emission Control System- or OBD System-related calibration or

 hardware change, then Defendants’ follow-up notification to EPA and CARB shall also provide:

 (i) a description of the specific modifications, alterations, repairs, corrections, adjustments, or

 other changes to be made to the vehicles; and (ii) a description of the safety-related

 modification’s expected effect on the performance or operation of the vehicles’ Emission Control

 System and OBD System. For OBD-related modifications, Defendants’ follow up notification

 shall also provide the information required by 13 C.C.R. § 1971.5(e). Defendants’ follow up

 notification shall include the required certification specified by Paragraph 66.



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                       4)      If EPA and CARB subsequently notify Defendants that the safety-

 related modification is not compliant with applicable environmental laws or regulations,

 Defendants shall, within 60 Days of such notification, either: (i) submit to EPA and CARB for

 review and approval under Section V (Approval of Submissions; U.S./EPA/CARB Decision-

 Making) a proposed plan and schedule for addressing the noncompliance identified by EPA and

 CARB (a “Response Plan”); or (ii) challenge EPA’s and CARB’s determination in accordance

 with Section XI (Dispute Resolution). If Defendants believe that the noncompliance cannot be

 addressed without jeopardizing compliance with NHTSA requirements, Defendants may submit

 a proposed Response Plan that provides for “no further action” to be taken to remedy the

 noncompliance, provided that Defendants set forth all the bases for this belief, for consideration

 by EPA and CARB.

                       5)      Upon receipt of written approval of a Response Plan by EPA and

 CARB, Defendants shall implement the Response Plan in accordance with the approved

 schedule. If EPA and CARB fail to make a determination within 60 Days of receipt of the

 Response Plan, Defendants may, at their discretion, consider the proposal to be denied for

 purposes of invoking Dispute Resolution pursuant to Section XI (Dispute Resolution) of this

 Consent Decree.

        37.     Sale and Export Restrictions.

                a.     On January 10, 2025, EPA voided ab initio the COCs for the Subject

 Engines. Therefore, Defendants are prohibited from selling, offering to sell, introducing into

 commerce, or importing, or causing any of the foregoing with respect to, any Subject Engine,

 including any Subject Engine installed in any vehicle or piece of nonroad equipment, except for

 any replacement engines, as defined in 40 C.F.R. § 1068.240. Additionally, Defendants shall not

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 export any Subject Engines, including any Subject Engine installed in any vehicle or piece of

 nonroad equipment.

                b.      After the date of approval of an applicable Approved Emission

 Modification, Defendants shall instruct its Dealers not to: (i) sell or cause to be sold, resell or

 cause to be resold, lease or cause to be leased, import, or otherwise introduce into commerce, any

 Eligible Vehicle, unless it has received the applicable Approved Emission Modification; or (ii)

 export from the United States to another country, any Eligible Vehicle, unless it has received the

 applicable Approved Emission Modification.

                c.      No later than 45 Days from the date of approval of an Approved Emission

 Modification, Defendants shall use best efforts to ensure that its Dealers do not (i) sell or cause

 to be sold, resell or cause to be resold, lease or cause to be leased, or introduce into commerce,

 any Eligible Vehicle, unless the Eligible Vehicle has received an applicable Approved Emission

 Modification; or (ii) export from the United States to another country, any Eligible Vehicle,

 unless the Eligible Vehicle has received an applicable Approved Emission Modification.

        38.     Online Access to Information.

                a.      By no later than 30 Days from the date of approval of an applicable

 Approved Emission Modification, Defendants will make information regarding any Approved

 Emission Modification available online on a publicly available website for the Subject Vehicles

 that provides vehicle-specific information searchable by VIN (“Hino Recall Website”).

 Defendants shall ensure that the Hino Recall Website contains updated information regarding

 (i) vehicle-specific information about the availability of an Approved Emission Modification;

 (ii) vehicle-specific status indication on whether or not the applicable Approved Emission

 Modification has been installed; (iii) a description of the Extended Warranty for Modified

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 Vehicles; and (iv) a viewable and downloadable copy of the pertinent disclosures provided to

 consumers as part of the administrative recall process.

                b.      By no later than 30 Days after the Date of Lodging, Defendants shall

 ensure that the Hino Recall Website contains updated information about the Extended Warranty

 for Subject Vehicles, including vehicle-specific information by VIN concerning the availability

 and coverage of the Extended Warranty for Subject Vehicles.

                c.      For at least 10 years after the Effective Date, Defendants shall ensure that

 updated information referenced in Paragraphs 38.a–b is available on their Hino Recall Website

 or on a similarly accessible website that shall be accessible free of charge to owners, lessees, and

 prospective purchasers. This requirement shall continue after termination of the Consent Decree

 under Section XIX (Termination).

        B.      Corporate Compliance.

        39.     In 2019, HML ceased seeking Certificates of Conformity from EPA and

 Executive Orders from CARB for its diesel engines intended for the United States and/or

 California. At the time of lodging of this Consent Decree, HML has represented that it will no

 longer seek to certify internal combustion engines of any kind (including, without limitation,

 engines fueled by diesel or gasoline) for the U.S. or California market for at least five years from

 the Effective Date. Nevertheless, during that time, Defendants expect they will conduct various

 activities in the United States and California related to the Subject Engines, including among

 other things the conduct of recalls and emission modifications, work under extended warranties,

 and compliance with other requirements of consent decrees, settlement agreements, and other

 resolutions of federal, state, and private class action claims.



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        40.     Accordingly, Defendants have taken and shall continue to take measures to

 reform and restructure their organizations in order to promote compliance with

 U.S. Environmental Law (as defined in Paragraph 9.qqqq). Defendants shall maintain and

 enhance these measures as required under this Consent Decree.

        41.     Defendants shall implement the corporate compliance provisions of this Consent

 Decree, in conjunction with their existing corporate and compliance management activities, to

 advance the goals of:

                a.       preventing violations of U.S. Environmental Law;

                b.       detecting any violations of U.S. Environmental Law that do occur; and

                c.       responding to any violations, or environmental compliance problems that

 could result in violations, of U.S. Environmental Law, including modifying policies, processes,

 controls, or any other activities that allowed such violations or problems to arise, and self-

 disclosing as appropriate, to the United States, EPA, CARB, and the California Attorney

 General.

        42.     To meet the goals of this Section and ensure compliance with United States and

 California laws and regulations governing vehicle emissions, Defendants have designed and will

 implement the five corporate compliance measures described in Paragraphs 43-47 below. In

 addition, Defendants will report to the United States, EPA, and CARB on a yearly basis and with

 reasonable specificity on their implementation of these compliance measures, as further

 described in Paragraph 49.




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        43.     Corporate Governance and Resourcing.

                a.      Compliance Structure and Organizational Separation of Development,

 Certification, and Audit Functions. Defendants reorganized their corporate structure to

 organizationally separate employees involved in U.S. engine certification, U.S. product

 development, and internal corporate audit and to support the organizational independence of the

 internal audit function.

                        1)      Specifically:

                                (a)     Within HML, the product development function reports to

 the Chief Technology Officer, while the Regulation and Certification Division (“RCD”), which

 manages, supervises, and conducts certification testing, reports to the Chief Quality Officer.

                                (b)     Within HMM, the Vehicle Regulatory Compliance Liaison

 (“VRCL”) group reports to the President of HMM.

                                (c)     HML’s Internal Audit Division, whose scope of

 responsibilities covers all of the Defendants, reports directly to HML’s Chief Executive Officer

 (“CEO”) and provides periodic reports, at least annually, to members of the Board of Auditors

 and the Board of Directors.

                        2)      Defendants shall continue to implement an organizational structure

 in which the U.S. engine certification, U.S. product development, and internal corporate audit

 functions are organizationally separate, with reporting lines to different leaders in senior

 management.

                        3)      HML’s Internal Audit Division shall report to the CEO, and at

 least semi-annually provide reports to the Board of Directors and/or Board of Auditors, or any

 similar successor body, and/or applicable committees of each such body.

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                b.      Compliance Resourcing.

                        1)     HML has increased its compliance resources, establishing Chief

 Compliance Officer (“CCO”) and Deputy Chief Compliance Officer positions, creating a

 compliance function known as the Compliance Promotion Division (“CPD”), and creating a

 “Compliance Committee” chaired by the President to monitor, review, and make

 recommendations regarding HML’s compliance program, for which the President is responsible.

 HML shall continue to maintain a compliance function led by a senior executive and containing

 both general and technical compliance teams, and shall continue to convene a Compliance

 Committee that is chaired by a senior executive and includes board members.

                        2)     HMM and HMS shall also maintain Compliance Committees,

 which shall provide to the compliance function at HML updates on significant compliance

 activities and developments related to compliance with U.S. Environmental Law.

                        3)     Defendants shall maintain adequate staffing levels for employees

 in their compliance, engine certification, and internal corporate audit functions with

 responsibilities for compliance with U.S. Environmental Law. The adequacy of staffing shall be

 evaluated on an annual basis by the External Compliance Consultant (defined in Paragraph 49.a),

 and Defendants shall describe any recommendations from the External Compliance Consultant

 in their annual report and shall address those recommendations by the time of the next report, as

 provided in Paragraph 49.




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        44.     Compliance Policies and Procedures.

                a.     HML has developed policies and practices in the areas of integrity,

 business ethics, and environmental compliance. HML’s corporate philosophy and foundational

 compliance documents are contained in the “Hino Way,” which includes HML’s global Credo,

 Sustainability Policy, and Code of Conduct. The Credo describes Hino’s three core principles:

 integrity, contribution, and empathy. HML’s Sustainability Policy lists compliance, safety, and

 environmental sustainability as three of the twelve key bases for Defendants’ corporate activities.

 The Code of Conduct, which emphasizes “tadashii-shigoto” or “do the right thing,” reinforces

 compliance as a top priority, and encourages employees to “speak up” by directing them to

 approach supervisors or use the “Consulting Desk” or the global or local reporting hotlines to

 report compliance problems, including but not limited to issues of compliance with U.S.

 Environmental Law.

                b.     Defendants shall maintain and enhance policies and practices in the areas

 of integrity, business ethics, and environmental compliance by continuing to maintain a code of

 conduct and/or other foundational corporate compliance policies that apply to Defendants’

 employees, include integrity and compliance as core values of Defendants’ organizations, and

 require employees to conduct business in a compliant manner. Defendants shall make these

 policies available on a publicly available global website in multiple languages, and shall provide

 descriptions, and any related directions for how to comply with the policies, to Defendants’

 employees, including on each Defendant’s intranet or other internal online portal.

                c.     Defendants shall conduct comprehensive compliance training, at least

 once per year, related to their business ethics and integrity program for Defendants’ employees.



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                d.      At least annually, commencing on December 31 of the year this Decree is

 entered, Defendants shall develop and annually update written standards focused on compliance

 with U.S. Environmental Law (the “Compliance Standards”). The Compliance Standards shall

 relate to, among other topics, air pollutants, such as greenhouse gases, AECD disclosure and

 assessment requirements, and OBD requirements, in addition to quality assurance standards and

 work standards as necessary for the Emission Modifications required in Section VI.A (Engine

 Compliance). Defendants shall disseminate their new and updated respective Compliance

 Standards to employees with responsibility for U.S. product development, U.S. certification,

 internal corporate auditing, and/or environmental compliance related to U.S. vehicle emissions.

         45.    Culture of Integrity and Compliance.

                a.      Tone at the Top and Communication. Defendants have established and

 shall continue to implement enhanced internal communication measures focused on compliance

 with Company policies and U.S. Environmental Law, including (i) sending periodic written

 messages from senior leaders, reminding employees of the importance of compliance and of

 speaking up (i.e., whistleblowing) to raise concerns without the risk of retaliation; (ii) having

 senior leaders conduct dialogue sessions with employees at least semi-annually; (iii) establishing

 the Learning Center for Working in the Right Way as an educational resource for HML

 employees; and (iv) conducting periodic Compliance Committee meetings. Defendants shall

 continue to communicate with employees regarding the importance of compliance with U.S.

 Environmental Law and the importance of speaking up to raise concerns without the risk of

 retaliation.

                b.      Whistleblower System. Defendants shall maintain and implement web-

 based and phone-based ethics and compliance reporting systems (“Whistleblower Systems”) to

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 facilitate and promote the reporting by employees to management of violations and other

 environmental compliance issues, including compliance with applicable United States laws and

 regulations regarding vehicle emissions, without the risk of retaliation. Defendants shall ensure

 that employees have the ability to report environmental compliance issues 24 hours per day, 7

 days per week, and to report anonymously, where permitted by local law.

                       1)      Defendants shall continue to prohibit retaliation against employees

 who raise concerns about adherence to, or who report violations of, U.S. environmental

 compliance requirements.

                       2)      Defendants shall continue to publicize the availability of the

 Whistleblower Systems to their employees. Defendants shall require general compliance

 training, at least once per year, for Defendants’ employees to encourage such employees to

 report issues concerning compliance with U.S. Environmental Law through Defendants’

 Whistleblower Systems, without fear of retaliation.

                c.     Compliance Incentives and Disincentives. Defendants shall implement

 programs designed to provide incentives for employees to comply with U.S. Environmental Law

 and disincentives for them to violate such laws and regulations (“Compliance Incentive

 Program”). This Compliance Incentive Program shall include:

                       1)      Employee Evaluations and Compensation. Defendants shall

 include compliance as a factor in their annual evaluations of all Defendants’ employees with

 responsibilities in areas related to U.S. Environmental Law. Through this Compliance Incentive

 Program, Defendants shall ensure that failure by an employee to follow such laws and

 regulations will negatively impact an employee’s salary, bonus, promotions, and/or leadership

 potential within each organization.

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                        2)      Disciplinary Processes. Defendants shall subject their employees

 who fail to comply with U.S. Environmental Law to appropriate disciplinary measures under

 applicable internal employee policies and as permitted by local law. Upon substantiation of an

 instance of noncompliance, Defendants shall review the matter and take disciplinary measures,

 as permitted by local law, designed to prevent similar incidents in the future. These measures

 shall be imposed according to Defendants’ disciplinary procedures which contemplate

 disciplinary options up to and including separation from the company.

        46.     Product Emissions Compliance and Regulatory Affairs.

                a.      Technical Compliance Training. Defendants shall continue to implement

 periodic Technical Compliance Training on U.S. Environmental Law for employees with

 responsibility for U.S. product development, U.S. certification, internal corporate auditing,

 and/or environmental compliance related to vehicle emissions (“Required Trainees”). Training

 shall address, in the first year, the following topics: (i) mandatory training regarding regulatory

 requirements applicable to defeat devices and AECDs (40 C.F.R. § 1068.101(b)(2)); (ii)

 mandatory OBD training; (iii) mandatory vehicle greenhouse gas training; (iv) mandatory

 tampering awareness training (40 C.F.R. § 1068.101(b)(1)); (v) mandatory penalties and fines

 training for U.S. Environmental Law. In subsequent years, Defendants shall continue to conduct

 annual Technical Compliance Training and shall identify topics based on the Defendants’ risk

 assessment. In identifying annual training topics, Defendants shall provide training on the topics

 enumerated above in this paragraph at least every other year. All training shall be conducted by

 qualified employees or third parties with applicable expertise and experience. Defendants shall

 make the initial training available to the Required Trainees within eight months of the Effective



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 Date and shall require the Required Trainees to complete the training within 12 months of the

 Effective Date.

                b.      Regulatory Information Management. Defendants shall enhance their

 activities for identifying, interpreting, and disseminating information internally regarding

 current, new, and emerging U.S. Environmental Law.

                c.      Third-Party Management (Suppliers). HML and HMM shall continue to

 distribute their respective “Supplier Quality Assurance Manuals” or “SQAMs” to all of HML

 and HMM’s suppliers of components for Hino vehicles sold in the United States (including

 California), including such suppliers located in Japan and countries outside the United States.

 The relevant SQAM shall be made available in one or more language(s) understood by officers,

 employees, and agents of HML and HMM’s components suppliers for Hino vehicles. HML and

 HMM shall revise and update their respective SQAMs as needed to keep them accurate,

 complete, applicable, and current. Each SQAM shall include a description of Hino’s expectation

 that each component supplier establishes and implements a quality fraud prevention system.

        47.     Risk Management and Auditing.

                a.      Internal Auditing. In addition to the reporting and other requirements

 above, Defendants’ Internal Audit Division or comparable audit function shall on an annual basis

 conduct at least one risk-based Technical Compliance Audit related to U.S. product development

 and/or U.S. vehicle or engine certification activities to audit for compliance with U.S.

 Environmental Law. These audits shall be conducted by individuals who (i) have applicable

 technical training and expertise; (ii) understand the importance of, and have consistently

 maintained and honored, the separation of the internal audit function from the U.S. engine

 certification and U.S. product development functions, as provided in this Section above; and (iii)

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 have a demonstrated ability to consistently meet high standards of ethics and professional

 responsibility.

                   b.     Risk Assessment.

                          1)     Defendants, through HML’s Chief Risk Officer and Risk

 Management Committee, or comparable functions, shall develop, implement, and enhance an

 internal risk management system that includes an assessment of technical compliance risks

 relating to U.S. Environmental Law.

                          2)     Defendants shall establish and maintain a risk assessment process

 that, at least annually, identifies compliance risks relating to U.S. Environmental Law, and

 develops and implements measures to address such risks and a schedule for completion of such

 measures.

        48.        Implementation Time Frame. Defendants shall continue to implement the

 requirements of this Section VI.B (Corporate Compliance) until termination of this Consent

 Decree.

        49.        Annual Compliance Testing and Reporting.

                   a.     External Compliance Consultant. Defendants shall engage an external

 compliance consultant (“External Compliance Consultant”) to review and test Defendants’

 implementation of the corporate compliance measures required under this Section VI.B,

 including, at a minimum, corporate governance and resourcing (Paragraph 43), Whistleblower

 Systems (Paragraph 45.b), Technical Compliance Training (Paragraph 46.a), and risk

 management and auditing (Paragraph 47). If at any time during their review or testing, the

 External Compliance Consultant concludes that additional review and/or testing is necessary to



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 meet the goals of this Section, then Defendants shall cooperate and facilitate such additional

 review and/or testing.

                b.        Reporting Requirements for Corporate Compliance. Defendants shall

 submit an annual report to the United States, EPA, and CARB regarding their compliance with

 Paragraphs 43–47 (“Corporate Compliance Report”). The first Corporate Compliance Report

 shall be submitted within one year after the Effective Date and annually thereafter. In each

 annual report, Defendants shall provide a written description of:

                          1)     the corporate compliance measures that Defendants have

 implemented pursuant to Section VI.B (Corporate Compliance);

                          2)     in summary form, any violations of this Consent Decree related to

 the corporate compliance obligations that occurred during the preceding year. The summary shall

 include: (1) the date(s) of the violation; (2) a description of the violation; (3) an explanation of

 the violation’s likely cause; (4) a description of the steps taken to prevent, remedy, or minimize

 the violation; and (5) for violations Defendants are required to report under Paragraphs 49.b and

 65.g, a list of violations previously reported and the date the notice of violation was sent. If no

 violations occurred during the reporting period, Defendants shall submit a statement that no

 violations occurred;

                          3)     any material changes in Defendants’ approach to the corporate

 compliance measures provided in Section VI.B (Corporate Compliance);

                          4)     a description of any significant problems encountered in

 implementing the corporate compliance measures required under Section VI.B (Corporate

 Compliance);



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                        5)      a description of the steps Defendants have taken to remedy these

 problems; and

                        6)      a description of the External Compliance Consultant’s review and

 testing and any recommendations from the External Compliance Consultant for further

 enhancements to Defendants’ implementation of the corporate compliance measures required

 under Section VI.B (Corporate Compliance).

                 c.     Corporate Compliance Plan and Annual Reviews. Within 60 Days of the

 Effective Date, Defendants shall submit a written proposed compliance work plan (“Corporate

 Compliance Plan”) to the United States, EPA, and CARB for review under Section V (Approval

 of Submissions; U.S./EPA/CARB Decision-Making). If the United States, EPA, and CARB have

 not provided any feedback (e.g., approval, denial, approval with conditions, or partial approval)

 within 60 Days after receipt of the proposed plan, the Corporate Compliance Plan will be

 deemed approved. At least annually, Defendants shall submit a revised and updated proposed

 Corporate Compliance Plan, subject to the same approval process as the original plan.

                 d.     Meetings During the Term. If requested by the United States, EPA, and/or

 CARB, representatives from Defendants shall meet with the United States, EPA, and/or CARB

 within 30 Days after providing each report to discuss the report and any feedback from the

 United States, EPA, and/or CARB.

        50.      Future Engine Certification and Independent Compliance Auditor. Defendants

 agree that, for at least five years after the Effective Date of this Decree, they shall not apply for

 new EPA COCs or CARB Executive Orders for internal combustion engines (including, without

 limitation, engines fueled by diesel or gasoline) intended for sale, lease, or distribution in the

 United States or California. If, at any time before termination of this Consent Decree, HML

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 resumes seeking EPA COCs or CARB Executive Orders for any internal combustion engines

 subject to United States or California environmental law or regulations, respectively, HML must

 take the following actions:

                a.     Defendants shall submit to the United States, EPA, and CARB a written

 notice of their intent to resume the submission of applications for EPA COCs or California

 Executive Orders for internal combustion engines for the U.S. market 180 Days prior to

 resuming the submission of such applications.

                b.     Together with the notice required under the previous subparagraph,

 Defendants shall submit a proposed supplemental compliance plan (“Supplemental Compliance

 Plan”) to the United States, EPA, and CARB for their review and approval. The Supplemental

 Compliance Plan shall include:

                       1)      provisions and a schedule for the retention and oversight of an

 Independent Compliance Auditor, as provided in Paragraph 50.f below, until the termination of

 the Consent Decree; and

                       2)      other provisions designed to ensure compliance with U.S.

 Environmental Law.

                c.     The proposed Supplemental Compliance Plan shall be reviewed and

 approved under Section V (Approval of Submissions; U.S./EPA/CARB Decision-Making);

 provided that, if the United States, EPA, or CARB do not provide any feedback (e.g., approval,

 disapproval, conditional approval, or partial approval) on the proposed Supplemental

 Compliance Plan within 60 Days after receipt of the proposed plan, the Supplemental

 Compliance Plan will be deemed approved.



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                d.      Defendants shall comply with the approved Supplemental Compliance

 Plan, subject to Sections XI (Dispute Resolution) and X (Force Majeure), if applicable.

                e.      This Paragraph 50 applies to engine certification, not vehicle certification

 pursuant to 40 C.F.R. Part 1037.

                f.      Independent Compliance Auditor.

                        1)      If Defendants recommence applications for U.S. COCs or

 California Executive Orders for internal combustion engines (including, without limitation,

 engines fueled by diesel or gasoline) intended for sale, lease, or other introduction into

 commerce in the United States before termination of this Consent Decree, Defendants shall

 retain, until the termination of the Consent Decree and at their expense, an independent third-

 party compliance auditor (“Independent Compliance Auditor” or “Auditor”) to conduct a

 comprehensive verification of Defendants’ compliance with U.S. Environmental Law.

 Defendants shall require that this Auditor act independently and objectively when performing all

 activities related to assessing Defendants’ compliance with U.S. Environmental Law.

                        2)      Defendants shall provide the Auditor with full access to their U.S.

 product development, U.S. engine certification, internal corporate auditing, and other related

 offices and components, and shall provide or otherwise make available any necessary personnel,

 documents, and training needed for the Auditor to fully perform all verification activities.

                        3)      At least 90 Days before recommencing applications for COCs for

 internal combustion engines, Defendants shall submit to the United States, EPA, and CARB the

 name and qualifications of a proposed Auditor that Defendants certify meets the following

 conditions:



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                                 (a)     The Auditor has demonstrated experience in applicable

 U.S. Environmental Law.

                                 (b)     The Auditor and their personnel have not conducted

 research, development, design, construction, financial, engineering, legal, consulting nor other

 advisory services for the Defendants within the last three years. However, an Auditor with

 personnel who, before working for the Auditor’s firm, conducted research, development, design,

 construction, or consulting services for Defendants (as an employee or contractor) may meet the

 requirements of independence by ensuring such personnel do not participate on, manage, or

 advise the audit team in this case.

                                 (c)     The Auditor was not involved in the development of

 Defendants’ U.S. or California engine certification applications, related testing or data generation

 or presentation, or any other activities giving rise to the violations alleged in this case.

                                 (d)     The Auditor and its personnel shall not provide any other

 commercial, business or voluntary services to the Defendants for a period of at least three years

 following the Auditor’s submittal of their final report (“Supplemental Compliance Report”).

                                 (e)     Defendants shall not provide future employment to any of

 the Auditor’s personnel who managed, conducted or otherwise participated in the Compliance

 Audit for a period of at least three years following the Auditor’s submission of its Supplemental

 Compliance Report.

                         4)      Within 30 Days of receiving the proposed Auditor from

 Defendants, EPA will notify Defendants in writing whether it approves of the proposed Auditor.

 Within 10 Days of EPA approval, Defendants shall retain such Auditor to perform the

 verification activities set forth in Paragraphs 50.f.1. Defendants shall ensure that all verification

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 personnel who conduct or otherwise participate in audit activities shall certify that they satisfy

 the conditions set forth in Paragraph 50.f.3 above before receiving any payment from

 Defendants.

                        5)      If EPA rejects a proposed Auditor, within 15 Days of receipt of

 EPA’s notification Defendants shall submit to EPA for approval another proposed Auditor that

 meets the qualifications set forth in Paragraph 50.f.3, restarting the timing requirements set forth

 in Paragraph 50.f.4. EPA will review the proposed replacement in accordance with

 Paragraph 50.f.3-5. Nothing in this Paragraph 50 precludes the United States from assessing

 stipulated penalties for missed audit deadlines associated with the need to replace an Auditor

 unless Defendants successfully assert that the inability of the Auditor to perform the verification

 activities as required was a Force Majeure event in accordance with Section X (Force Majeure).

                        6)      Defendants shall ensure that their contract with the Auditor

 explicitly requires the Auditor to perform the activities that EPA will review to assess

 Defendants’ compliance with U.S. Environmental Law, as provided in the EPA-approved

 Supplemental Compliance Plan.

                        7)      According to the schedule set forth in the approved Supplemental

 Compliance Plan, the Auditor shall submit a Supplemental Compliance Report to the United

 States, EPA, CARB, and Defendants that meets these requirements:

                                (a)     The Auditor shall not share any draft or preliminary audit

 findings or reports with the Defendants in any format (electronic, paper, or verbal).

                                (b)     The Auditor shall conduct no post-audit oral or written

 communications with Defendants except to request additional audit-related data or information.



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                               (c)     The Auditor shall not share its conclusions with Defendants

 until the Auditor submits its Supplemental Compliance Report to the United States, EPA, and

 CARB.

                               (d)     The Supplemental Compliance Report shall include all

 findings, conclusions, monitoring results and other observations of the Auditor.

                               (e)     The Auditor shall provide copies of all documents reviewed

 and identify all of Defendants’ personnel interviewed in support of the Supplemental

 Compliance Report.

                               (f)     The Auditor shall include in the final submitted

 Supplemental Compliance Report a certification that Defendants have remained in compliance

 with all of the conditions set forth in Paragraph 50.f above, and shall continue to follow these

 conditions until three years after the final Supplemental Compliance Report is completed.

                               (g)     The Supplemental Compliance Report, or any information

 developed or findings of the Auditor, shall not be subject to any privilege or protection, except as

 provided under Section XII (Information Collection and Retention).

                        8)     By the deadline set forth in the approved Supplemental

 Compliance Plan, Defendants shall submit to EPA a response to all findings, conclusions and

 observations set forth in the Supplemental Compliance Report, with an expeditious schedule for

 correction. Defendants shall also describe each completed or proposed action to correct each

 deficiency identified in the submitted Supplemental Compliance Report, including the date(s)

 that such corrections occurred or are scheduled to occur.

                        9)     The United States, EPA, and CARB may rely on the final

 Supplemental Compliance Report to determine whether Defendants have complied with U.S.

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 Environmental Law. However, the United States, EPA, and CARB shall not be bound by the

 Supplemental Compliance Report. If EPA or CARB, where applicable, determines that

 Defendants are in violation of any requirement of U.S. Environmental Law or this Consent

 Decree, Defendants shall be liable for applicable stipulated penalties for violations of this

 Consent Decree to the United States and/or CARB, pursuant to Section IX (Stipulated Penalties),

 regardless of the Supplemental Compliance Report.

                                       VII.    MITIGATION

        51.     U.S. Mitigation Program. As set forth in Paragraphs 53–60, below, Defendants

 shall implement a program to reduce emissions from locomotives and marine vessels (“U.S.

 Mitigation Program”). Through this program Defendants shall mitigate no less than 41,941 tons

 of oxides of nitrogen (“NOx”), 376 tons of particulate matter (“PM”), 6,199 tons of carbon

 dioxide (“CO2”), and 135 tons of nitrous oxide (“N2O”). For purposes of mitigating N2O

 emissions, Defendants may instead choose to mitigate CO2 emissions at a ratio of 298:1

 (CO2:N2O).

        52.     Defendants’ implementation of the U.S. Mitigation Program, in accordance with

 this Consent Decree, will be deemed to fully mitigate the total lifetime excess emissions from the

 Subject Engines in the United States, excluding California, as claimed by the United States.

        53.     No later than 30 Days from the Date of Lodging, Defendants shall submit for

 EPA review and approval a plan for the implementation of the U.S. Mitigation Program

 (“Mitigation Implementation Plan”), including: a list of projects to be completed and the

 projects’ locations; the expected emissions reductions from each project and the calculation

 methodology used for such estimate; and the expected timeline to complete each project.

 Defendants may, but are not required to, begin implementation of the U.S. Mitigation Program

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 prior to receiving EPA approval of the Mitigation Implementation Plan. Defendants bear all risks

 that, should they implement Mitigation Projects prior to receiving EPA approval of the

 Mitigation Implementation Plan, EPA might not ultimately approve the project(s) and

 Defendants may not receive credit for the project.

        54.     If EPA fails to make a determination about Defendants’ proposal within 90 Days

 of receipt, Defendants may, at their discretion, consider the proposed Mitigation Implementation

 Plan to be denied for the purpose of invoking Dispute Resolution pursuant to Section XI

 (Dispute Resolution).

        55.     The U.S. Mitigation Program shall be comprised of Mitigation Projects meeting

 the criteria set forth in Paragraphs 56 and 57. Defendants shall complete the U.S. Mitigation

 Program by no later than five years from the Effective Date of the Consent Decree.

        56.     Types of Mitigation Projects. Subject to amendment as provided in Paragraph 58,

 the U.S. Mitigation Program shall include: seven Switch Locomotive Projects, 15 Line-Haul

 Locomotive Projects, 138 Switch Locomotive Idle Reduction Projects, and 14 Marine Projects.

                a.       For purposes of this Section VII (Mitigation), “repower” means (i)

 removing existing unregulated, Tier 0, Tier 0+, or Tier 1 engines on a locomotive or marine

 vessel and installing new engines certified to EPA Tier 4 or more stringent emission standards

 under 40 C.F.R. § 1033.101 for locomotives or 40 C.F.R. Part 1042, Subpart B for marine

 engines; and (ii) permanently rendering the removed engines incapable of operation. For

 purposes of this Section, “replacement” means: (i) replacing an existing locomotive or marine

 vessel containing unregulated, Tier 0, Tier 0+, or Tier 1 engines by funding engines certified to

 EPA Tier 4 or more stringent EPA emission standards for a new locomotive or marine vessel;

 and (ii) permanently rendering the engines of the replaced locomotive or marine vessel incapable

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 of operation. For purposes of this Section, “replacement” may involve replacing more than one

 existing, qualifying locomotive or marine vessel with the same or fewer number of new

 locomotives or marine vessels.

                b.     Switch Locomotive Projects. For each Switch Locomotive Project,

 Defendants shall complete and fund in whole the repowering or replacement of an unregulated,

 Tier 0, Tier 0+, or Tier 1 switch locomotive (as identified in 40 C.F.R. § 1033.101). “Switch

 locomotive” means a locomotive used in freight yards to assemble and disassemble trains, or

 used for short hauls of small trains, powered by an engine with a maximum rated power (or a

 combination of engines having a total rated power) of 2,300 horsepower or less, as provided

 under 40 C.F.R. § 1033.901. Each Switch Locomotive Project shall use a new engine that is

 certified to EPA Tier 4 or more stringent locomotive emission standards, under 40 C.F.R.

 § 1033.101.

                c.     Line-Haul Locomotive Projects. For each Line-Haul Locomotive Project,

 Defendants shall complete and fund in whole the repowering or replacement of an unregulated,

 Tier 0, Tier 0+, or Tier 1 line-haul locomotive as identified in 40 C.F.R. § 1033.101. “Line-haul

 locomotive” means a locomotive that does not meet the definition of switch locomotive in 40

 C.F.R. § 1033.901. Each Line-Haul Locomotive Project shall utilize a new engine that is

 certified to EPA Tier 4 or more stringent locomotive emission standards, under 40 C.F.R.

 § 1033.101.

                d.     Switch Locomotive Idle Reduction Projects. For each Switch Locomotive

 Idle Reduction Project, Defendants shall complete and fund in whole a project that results in

 reduced idling time, and therefore reduced fuel usage and reduced emissions of NOx, PM, and

 CO2, from switch locomotives. Each Switch Locomotive Idle Reduction Project must include

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 outfitting a switch locomotive with an Automatic Engine Shutdown / Startup (“AESS”) system

 that relies on zero-emission auxiliary power. Locomotives that already have an AESS system

 installed, or that are otherwise part of the U.S. Mitigation Program as a Switch Locomotive

 Project, are not eligible to be a Switch Locomotive Idle Reduction Project.

                e.     Marine Projects. For each Marine Project, Defendants shall complete and

 fund in whole the repowering or replacement of an unregulated, Tier 0, or Tier 0+ engine on a

 marine vessel used as a tugboat, towboat, or dredge. 40 C.F.R. § 1042, Subpart B. Each Marine

 Project shall use a new engine that is certified to EPA Tier 4 or more stringent marine emission

 standards, under 40 C.F.R. § 1042, Subpart B.

        57.     Mitigation Project Selection Criteria.

                a.     Geographic Diversity. In selecting Mitigation Projects, Defendants shall

 use best efforts to mitigate emissions in geographically diverse locations across the United States

 (excluding California) in quantities roughly proportional to the estimated number of violative

 Subject Engines in each location, based on the most accurate data reasonably available to

 Defendants.

                b.     Environmental Impact. In selecting Mitigation Projects, Defendants shall

 use best efforts to select and implement Mitigation Projects in a manner that takes into

 consideration areas disproportionately burdened by adverse human health and environmental

 impacts, identified based on a combination of environmental and socioeconomic indicators,

 including, but not limited to, areas identified using mapping and screening tools such as EPA’s

 “EJScreen” or the Council on Environmental Quality’s Climate and Economic Justice Screening

 Tool (“CEJST”), and considering indicators related to air quality.



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                  b.       Target Locomotives. In selecting Line-Haul Locomotive Projects and

 Switch Locomotive Projects, Defendants shall prioritize the repowering or replacement of

 unregulated, Tier 0, Tier 0+, and Tier 1 locomotives, in that order of priority.

                  c.       Target Marine Engines. In selecting Marine Projects, Defendants shall

 prioritize the repowering or replacement of unregulated, Tier 0, and Tier 0+ marine engines, in

 that order of priority.

         58.      Amendments to the Mitigation Implementation Plan.

                a.         At any time, Defendants may propose a modification of the U.S.

 Mitigation Program by submitting an amended Mitigation Implementation Plan that adds and/or

 removes one or more Mitigation Project(s) from the program. Any such proposal shall include an

 estimate of the expected total NOx, PM, and CO2 emission reductions from the addition or

 removal of such Mitigation Projects and the methodology used to derive the estimate. Any such

 modification of the U.S. Mitigation Program shall result in NOx, PM, and CO2 emission

 reductions greater than or equal to the tons of emissions to be mitigated, as provided in

 Paragraph 51. Any proposal submitted by Defendants pursuant to this Paragraph shall be subject

 to review and approval by EPA in accordance with Section V (Approval of Submissions;

 U.S./EPA/CARB Decision-Making). Any modification of the Mitigation Implementation Plan

 shall not extend the five-year timeline for completion of the U.S. Mitigation Program.

                a.         If EPA fails to make a determination about Defendants’ proposed changes

 within 90 Days of receipt, Defendants may, at their discretion, consider the proposed changes to

 be denied for the purpose of invoking Dispute Resolution pursuant to Section XI (Dispute

 Resolution).



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              b.          Upon approval, conditional approval, or partial approval by the United

 States, the amended Mitigation Implementation Plan shall supersede the original EPA-approved

 Mitigation Implementation Plan and shall become enforceable under this Consent Decree.

        59.        Semi-Annual Reporting. Defendants shall include updates on the status of the

 U.S. Mitigation Program in each semi-annual report, as provided in Paragraph 65.f.

        60.        Mitigation Program Certifications. With regard to the U.S. Mitigation Program,

 Defendants shall certify the truth and accuracy of each of the following as part of its Mitigation

 Implementation Plan and any subsequent amendments to that plan:

              a.          Defendants are not required to perform or develop the U.S. Mitigation

 Program or any Mitigation Projects proposed in the Mitigation Implementation Plan by any

 federal, state, or local law or regulation, or by agreement, grant, or as injunctive relief awarded in

 any other action in any forum;

              b.          none of Defendants’ project partners are required to perform or develop

 any of the Mitigation Projects included in the Mitigation Implementation Plan by any federal,

 state, or local law or regulation, or by agreement, grant, or as injunctive relief awarded in any

 other action in any forum;

              c.          each Mitigation Project is not a mitigation project that Defendants were

 planning or intending to construct, perform, or implement other than in settlement of the claims

 resolved in this Consent Decree;

              d.          none of Hino’s project partners will use funds from a federal financial

 assistance transaction, including grants, cooperative agreements, federal loans, federally

 guaranteed loans, and pass-through federal funds, to fund the replacement or modification of any



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 portion of a mobile source (e.g., locomotive or marine vessel) included in the U.S. Mitigation

 Program;

              e.           Defendants have not received, and will not receive, credit for any

 Mitigation Project in any other enforcement action, except for purposes of the forfeiture

 provision of the criminal plea agreement included in the Coordinated Settlements; and

               f.          Defendants shall neither generate nor use any pollutant reductions from

 the U.S. Mitigation Program as netting reductions, pollutant offsets, or to apply for, obtain, trade,

 or sell any pollutant reduction credits.

        61.         Defendants agree that each certification required by Paragraph 60 is subject to

 18 U.S.C. §§ 1001(a) and 1621, and California Penal Code §§ 115, 118, and 132.

        62.         California Mitigation Payment. Defendants have entered into a separate

 agreement with CARB intended to mitigate excess emissions from the Subject Engines located

 in California. That agreement is set forth in the separate California Partial Consent Decree

 between Defendants and CARB that has been lodged with this Court contemporaneously with

 this Consent Decree.

                               VIII. REPORTING REQUIREMENTS

        63.         Consent Decree Compliance Reports. Defendants shall document compliance

 with the requirements of this Consent Decree in Semi-Annual Reports described in this Section,

 and in certain other required reports referenced in other Sections of this Consent Decree, such as

 the annual Corporate Compliance Report required under Paragraph 49. Unless otherwise

 provided, all reports in this Section shall be submitted simultaneously to the United States, EPA,

 CARB, and the California Attorney General.



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        64.     Timing of Semi-Annual Reports. Unless otherwise specified in this Consent

 Decree or the Parties otherwise agree in writing:

                a.      General Timing. For Semi-Annual Reports required under this Consent

 Decree, Defendants shall submit each Report within one month after the end of the applicable

 semi-annual reporting period (i.e., by January 31 for the reporting period from the preceding July

 to December and by July 31 for the reporting period from the preceding January to June).

                b.      Timing for First Semi-Annual Report. If this Consent Decree’s Effective

 Date is at least 45 Days before the end of a semi-annual period, Defendants’ Semi-Annual

 Report for the first partial reporting period shall be due by the last day of the month following

 the end of that reporting period. For example, if the Effective Date is September 2, the first

 Report shall be due on January 31 and shall cover the period from September 2 to December 31.

 If this Consent Decree’s Effective Date is less than 45 Days before the end of a semi-annual

 period, Defendants’ first Semi-Annual Report shall not be due until the last day of the month

 following the end of the next semi-annual period. For example, if the Effective Date is December

 3, the first Report shall be due on July 31 and shall cover the period from December 3 to June 30.

                c.      Continued Submission of Semi-Annual Reports. Defendants shall continue

 submitting Semi-Annual Reports under this Consent Decree until this Consent Decree is

 terminated in accordance with Section XIX (Termination).

        65.     Contents of Semi-Annual Reports. Unless otherwise provided herein, Defendants

 shall submit separate Semi-Annual Reports to the United States, EPA, CARB, and the California

 Attorney General that include the content specified in the subparagraphs below.




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                a.     Emission Modification Program.

                       1)      Each Semi-Annual Report shall provide a written description of

 any problems encountered in implementing the Emission Modification Program since the last

 semi-annual reporting period and any solutions implemented or planned.

                       2)      Each Semi-Annual Report shall provide a narrative description and

 quantitative assessment of progress made toward meeting the National Recall Target Rates and

 the California Recall Target Rates for the Eligible Vehicles during the semi-annual reporting

 period.

                       3)      Each Semi-Annual Report shall be submitted with an Excel

 spreadsheet listing each Credited Vehicle (identified by VIN and separated by vehicles located in

 California and those located within the United States but outside of California) that counts

 toward achievement of the Recall Target Rates.

                b.     Sale and Export Restrictions. Each Semi-Annual Report shall provide a

 written description of any significant problems encountered in satisfying the sale and export

 restriction requirements imposed by Paragraph 37 since the last semi-annual reporting period and

 any solutions implemented or planned.

                c.     Warranty Program. Each Semi-Annual Report shall provide a written

 description of any significant problems encountered in implementing the Extended Warranty

 Programs since the last semi-annual reporting period and any solutions implemented or planned.

                d.     Online Access to Information. Each Semi-Annual Report shall provide a

 written description of any significant problems encountered in implementing the requirements

 regarding online access to information under Paragraph 38 since the last semi-annual reporting

 period and any solutions implemented or planned.

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                e.      Corporate Compliance. Defendants shall comply with the annual reporting

 requirements for corporate compliance set forth in Paragraph 49 of this Consent Decree.

                f.      U.S. Mitigation Projects. To the United States and EPA only: Each Semi-

 Annual Report shall provide a narrative summary of each of the Mitigation Projects included in

 the U.S. Mitigation Program submitted pursuant to Section VII (Mitigation). For each Mitigation

 Project, the Semi-Annual Report shall, at a minimum: (i) identify and describe the Mitigation

 Project, including the number and type of engines being replaced, number and type of engines

 being installed, and project location; (ii) present the expected reductions in NOx, PM, and CO2

 emissions for the Mitigation Project, which may reference earlier provided estimates, and explain

 any updates; (iii) provide a project timeline, indicating whether the project is forthcoming, in

 progress, or completed; and (iv) identify any significant problems encountered in implementing

 the Mitigation Project, and whether and how those have been resolved.

                g.      Summary of Noncompliance. In addition to any narrative descriptions,

 each Semi-Annual Report shall include an Excel spreadsheet identifying any noncompliance

 with (i.e., violation of) the requirements of this Consent Decree that occurred during the

 preceding six months. For each such noncompliance, the spreadsheet shall identify (i) the date of

 the noncompliance, (ii) the Consent Decree requirement violated (including applicable Section

 and Paragraph number(s)), (iii) a description of the noncompliance, (iv) the duration of the

 noncompliance, (v) an explanation of the violation’s likely cause, and (vi) a description of the

 steps taken or to be taken to prevent, remedy, or minimize the violation. If no violations occurred

 during the reporting period, Defendants shall submit a statement that no violations occurred. If

 the cause of a violation cannot be fully explained at the time the report is due, Defendants shall

 so state in the report. Defendants shall investigate the cause of the violation and shall then submit

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 an amendment to the report, including an explanation of the cause of the violation, within 30

 Days of the day Defendants become aware of the cause of the violation, with further updates as

 necessary. Nothing in this Section relieves Defendants of their obligation to provide the notice

 required by Section X (Force Majeure).

                h.      Submission Method. Defendants shall submit each Semi-Annual Report,

 including any relevant documentation, and each other report required by this Consent Decree to

 the specified agencies with any required copies sent to the United States, EPA, and/or CARB by

 electronic mail to the e-mail addresses set forth Section XV (Notices and Submissions).

        66.     Required Certification.

                a.      Each written report submitted by Defendants under this Section shall be

 signed by an official of the submitting party and include the following certification:

                I certify under penalty of perjury that this document and all attachments
                were prepared under my direction or supervision in accordance with a
                system designed to assure that qualified personnel properly gather and
                evaluate the information submitted. Based on my inquiry of the person or
                persons who manage the system, or those persons directly responsible for
                gathering the information, the information submitted is, to the best of my
                knowledge and belief, true, accurate, and complete. I have no personal
                knowledge that the information submitted is other than true, accurate, and
                complete. I am aware that there are significant penalties for submitting
                false information, including the possibility of fine and imprisonment for
                knowing violations.

                b.      Defendants agree that the certification required by Paragraph 66.a is

 subject to 18 U.S.C. §§ 1001(a) and 1621 and California Penal Code §§ 115, 118, and 132.

                c.      This certification requirement does not apply to emergency or similar

 notifications where compliance would be impractical.

        67.     Special Reporting Requirements. Whenever Defendants reasonably believe any

 violation of this Consent Decree or any other event affecting Defendants’ performance under this

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 Consent Decree may pose an immediate threat to the public health or welfare or the environment,

 Defendants shall notify EPA and CARB by telephone and email as soon as possible, but no later

 than 24 hours after Defendants first reasonably believe the violation or event may pose an

 immediate threat to the public health or welfare or the environment.

        68.     The reporting requirements of this Consent Decree do not relieve Defendants of

 any reporting obligations required by the Act or implementing regulations, or by any other

 federal, state, or local law, regulation, permit, or other requirement.

        69.     Any information provided pursuant to this Consent Decree may be used by the

 United States or California in any proceeding to enforce the provisions of this Consent Decree

 and as otherwise permitted by law, consistent with Paragraphs 124 and 125 (regarding protected

 or otherwise confidential information).

                                IX.     STIPULATED PENALTIES

        70.     Defendants shall be liable for stipulated penalties to the United States and CARB

 for violations of this Consent Decree as specified in this Section, unless excused under Section X

 (Force Majeure). A violation includes failing to perform any obligation required by the terms of

 this Consent Decree, including any work plan or schedule approved under this Consent Decree,

 according to all applicable requirements of this Consent Decree and within the specified time

 schedules established by or approved under this Consent Decree.

    A. Civil Penalties.

        71.     Late Payment of Civil Penalty.

                a.      If Defendants fail to pay the civil penalty required to be paid to the United

 States under Paragraph 10 when due, Defendants shall pay the United States a stipulated penalty



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 of 0.10% of the unpaid principal amount due to the United States per Day for each Day that the

 payment is late.

                b.     If Defendants fail to pay the civil penalty required to be paid to CARB

 under Paragraph 10 when due, Defendants shall pay CARB a stipulated penalty of 0.10% of the

 unpaid principal amount due to CARB per Day for each Day that the payment is late.

    B. Emission Modification Compliance.

        72.     Failure to Submit Remedial Plan(s) – J05E Recall Group. If Defendants fail to

 submit to EPA and CARB a Remedial Plan for a Proposed Emission Modification for the J05E

 Recall Group by the deadline in Paragraph 24, Defendants shall pay the following stipulated

 penalties per Day for each Day that such Remedial Plan submission is late:

                               Penalty per Day        Period of Noncompliance

                               $4,000                 1st through 14th Day
                               $10,000                15 through 30th Day
                               $20,000                31st Day and beyond

        73.     Failure to Obtain an Approved Emission Modification – J05E Recall Group. If

 Defendants fail to obtain an Approved Emission Modification for the J05E Recall Group by the

 deadline in Paragraph 26, Defendants shall pay a stipulated penalty of $100,000,000. On the date

 Defendants pay this penalty, stipulated penalties related to Defendants’ obligations to submit an

 Emission Modification for approval, or implement an Emission Modification for the J05E Recall

 Group, shall no longer continue to accrue, including the penalties described in Paragraphs 72

 (Failure to Submit Remedial Plan(s) – J05E Recall Group), 76 (Failure to Make Available

 Approved Emission Modification), and 79 (Failure to Meet Emission Modification Program Rate

 Targets). Nothing in the previous sentence relieves Defendants of the obligation to pay any

 stipulated penalties that have accrued up to the date of payment of the stipulated penalty required

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 in this Paragraph 73 or any stipulated penalties for noncompliance with other provisions of the

 Consent Decree not specifically listed in the previous sentence.

        74.     Failure to Submit Remedial Plan(s) – J08E Recall Group. If Defendants fail to

 submit to EPA and CARB a Remedial Plan(s) for a Proposed Emission Modification for the

 J08E Recall Group by the deadline in Paragraph 24, Defendants shall pay the following

 stipulated penalties per Day for each Day that submission is late:

                               Penalty per Day        Period of Noncompliance

                               $4,000                 1st through 14th Day
                               $10,000                15th through 30th Day
                               $20,000                31st Day and beyond

        75.     Failure to Obtain an Approved Emission Modification - J08E Recall Group. If

 Defendants fail to obtain an Approved Emission Modification for the J08E Recall Group by the

 deadline in Paragraph 26, Defendants shall pay a stipulated penalty of $300,000,000. On the date

 Defendants pay this penalty, stipulated penalties related to Defendants’ obligations to submit an

 Emission Modification for approval, or implement an Emission Modification for the J08E Recall

 Group, shall no longer continue to accrue, including the penalties described in Paragraphs 74

 (Failure to Submit Remedial Plan(s) – J08E Recall Group), 76 (Failure to Make Available

 Approved Emission Modification), and 79 (Failure to Meet Emission Modification Program Rate

 Targets). Nothing in the previous sentence relieves Defendants of their obligation to pay any

 stipulated penalties that have accrued up to the date of payment of the stipulated penalty required

 in this Paragraph 75 or any stipulated penalties for noncompliance with other provisions of the

 Consent Decree not specifically listed in the previous sentence.

        76.     Failure to Make Available Approved Emission Modification. If Defendants fail to

 comply with Paragraph 27 (Availability of Approved Emission Modification), Defendants shall

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 pay the following stipulated penalties per Recall Group (J05E and J08E) per Day for which the

 Approved Emission Modification was unavailable:

                               Penalty per Day        Period of Noncompliance

                               $4,000                 1st through 14th Day
                               $10,000                15th through 30th Day
                               $20,000                31st Day and beyond

        77.     Failure to Restrict Sales and Exports. Defendants shall pay stipulated penalties of

 $25,000 per affected Subject Engine for any violation of the sale and export restrictions specified

 by Paragraph 37.

        78.     Failure to Establish and Maintain Extended Warranty Programs.

                a.      If Defendants fail to ensure the establishment and maintenance of the

 Extended Warranty Programs as required by Paragraphs 32–35 (and Appendix B), Defendants

 shall pay stipulated penalties for each Day on which the applicable Extended Warranty Program

 should have been offered and maintained but was not, through termination of this Consent

 Decree under Section XIX (Termination), as follows:

                               Penalty per Day        Period of Noncompliance

                               $4,000                 1st through 14th Day
                               $10,000                15th through 30th Day
                               $20,000                31st Day and beyond

                b.     In addition to paying these stipulated penalties, Defendants shall

 reimburse any affected Eligible Owner or Eligible Lessee any amount paid by the Eligible

 Owner or the Eligible Lessee to Defendants or their Dealers because of a failure to honor an

 applicable Extended Warranty.




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        79.     Failure to Meet Emission Modification Program Rate Targets.

                a.      If Defendants fail to achieve an 85% National Recall Target Rate for the

 J05E Recall Group by the applicable Recall Target Deadline under Paragraph 31, Defendants

 shall pay the United States a stipulated penalty of $2,000,000 for each percentage point that the

 National Recall Target Rate falls short of 85%.

                b.      If Defendants fail to achieve an 85% National Recall Target Rate for the

 J08E Recall Group by the applicable Recall Target Deadline, Defendants shall pay the United

 States a stipulated penalty of $6,000,000 for each percentage point that the National Recall

 Target Rate falls short of 85%.

                c.      If Defendants fail to achieve an 85% California Recall Target Rate for the

 J05E Recall Group by the applicable Recall Target Deadline, Defendants shall pay CARB a

 stipulated penalty of: $314,000 for each percentage point that the California Recall Target Rate

 falls short of 85%.

                d.      If Defendants fail to achieve an 85% California Recall Target Rate for the

 J08E Recall Group by the applicable Recall Target Deadline, Defendants shall pay CARB a

 stipulated penalty of: $942,000 for each percentage point that the California Recall Target Rate

 falls short of 85%.

                e.      In calculating any payment under this Paragraph, each Recall Target Rate

 shall be rounded to the nearest percentage point. The calculated percentage should first be

 rounded to two significant digits to the right of the decimal point. Then: (i) if the fractional

 portion of the percentage is .50 or more, round up (so 83.50% rounds to 84%); and (ii) if the

 fractional portion of the percentage is .49 or below, round down (so 83.49% rounds to 83%).



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        80.    Failure to Comply with Prohibition on Defeat Devices. If Defendants install a

 Defeat Device in any Subject Engine after the Date of Lodging, Defendants shall pay a stipulated

 penalty of $50,000,000 per Defeat Device per Engine Family (not per engine).

        81.    Failure to Disclose AECDs. If a Proposed Emission Modification or Approved

 Emission Modification includes an AECD that Defendants have not listed and described in the

 applicable Remedial Plan submitted to EPA and CARB, Defendants shall pay a stipulated

 penalty of $1,000,000 per undisclosed AECD that reduces the effectiveness of the Emission

 Control System under conditions which may reasonably be expected to be encountered in normal

 vehicle operation and use, per group, the J05E Recall Group and the J08E Recall Group (not per

 engine).

    C. Corporate Compliance.

        82.    Failure to Separate Development, Certification, and Audit Functions. Defendants

 shall pay stipulated penalties per Day for each Day that Defendants fail to implement and

 maintain any requirement of Paragraph 43.a, as follows:

                              Penalty per Day        Period of Noncompliance

                              $2,000                 1st through 14th Day
                              $10,000                15th through 30th Day
                              $50,000                31st Day and beyond

        83.    Failure to Comply with Requirements Related to Compliance Resourcing or

 Compliance Policies and Procedures. Defendants shall pay stipulated penalties per Day for each

 Day that Defendants fail to comply with the requirement to have the External Compliance

 Consultant annually assess compliance resourcing pursuant to Paragraph 43.b, or fail to comply

 with the requirement to develop written standards focused on compliance with United States



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 environmental laws and regulations related to vehicle emissions pursuant to Paragraph 44, as

 follows:

                               Penalty per Day        Period of Noncompliance

                               $1,000                 1st through 14th Day
                               $2,500                 15th through 30th Day
                               $10,000                31st Day and beyond

        84.     Failure to Comply with Requirements Related to Ethics and Compliance

 Reporting (Whistleblower System) or Compliance Incentives and Disincentives. Defendants

 shall pay stipulated penalties per Day for each Day that Defendants fail to comply with

 requirements related to ethics and compliance reporting (Whistleblower System) or compliance

 incentives and disincentives, pursuant to Paragraph 45, as follows:

                               Penalty per Day        Period of Noncompliance

                               $1,000                 1st through 14th Day
                               $2,500                 15th through 30th Day
                               $10,000                31st Day and beyond

        85.     Failure to Comply with Requirements Related to Technical Compliance Training.

 Defendants shall pay stipulated penalties per Day for each Day that Defendants fail to comply

 with requirements to make Technical Compliance Training available on the topics and by the

 deadlines specified in Paragraph 46, as follows:

                               Penalty per Day        Period of Noncompliance

                               $1,000                 1st through 14th Day
                               $2,500                 15th through 30th Day
                               $10,000                31st Day and beyond

        86.     Failure to Comply with Requirements Related to Risk Management, Internal

 Auditing, or Annual Compliance Testing and Reporting. Defendants shall pay stipulated

 penalties per Day for each Day that they fail to comply with requirements to conduct annual risk

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 assessments, conduct annual internal audits, engage an External Compliance Consultant to

 conduct annual compliance testing, or submit annual corporate compliance reports, under

 Paragraphs 47 and 49, as follows:

                               Penalty per Day        Period of Noncompliance

                               $1,000                 1st through 14th Day
                               $2,500                 15th through 30th Day
                               $10,000                31st Day and beyond

        87.     Failure to Comply with Requirements Related to Future Engine Certification and

 Independent Compliance Auditing. Defendants shall pay stipulated penalties per Day for each

 Day that they fail to comply with requirements related to future engine certification and

 independent compliance auditing, pursuant to Paragraph 50, as follows:

                               Penalty per Day        Period of Noncompliance

                               $1,000                 1st through 14th Day
                               $2,500                 15th through 30th Day
                               $10,000                31st Day and beyond

    D. Mitigation.

        88.     Failure to Submit the Mitigation Implementation Plan. If Defendants fail to

 submit a Mitigation Implementation Plan as required by Paragraph 53, by the deadline set forth

 in Paragraph 53, Defendants shall pay the United States the following stipulated penalties per

 violation per Day:

                               Penalty per Day        Period of Noncompliance

                               $1,000                 1st through 14th Day
                               $2,500                 15th through 30th Day
                               $10,000                31st Day and beyond

        89.     Failure to Complete U.S. Mitigation Projects. If Defendants fail to complete the

 U.S. Mitigation Program as presented in the Mitigation Implementation Plan and as required by

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 Paragraphs 51–58 by the deadline set forth in Paragraph 55, Defendants shall pay the United

 States the following stipulated penalties per violation per Day:

                                Penalty per Day        Period of Noncompliance

                                $5,000                 1st through 14th Day
                                $10,000                15th through 30th Day
                                $20,000                31st Day and beyond

    E. Reporting and Information Submissions

        90.     Failure to Submit Reports. If Defendants fail to submit a report or information as

 required by Paragraph 36.b (Modifications Pursuant to NHTSA Safety Recall), Paragraphs 59-60

 (mitigation reporting and certification), or Section VIII (Reporting Requirements), Defendants

 shall pay stipulated penalties for each Day of noncompliance, as follows:

                        Penalty per Day        Period of Noncompliance

                        $2,000                 1st through 14th Day
                        $5,000                 15th through 30th Day
                        $10,000                31st Day and beyond

        91.     Failure to Submit Information. If Defendants fail to provide EPA or CARB with

 information or other items covered by Section XII (Information Collection and Retention),

 within 45 Days of a request by EPA or CARB, Defendants shall pay stipulated penalties for each

 Day of noncompliance with the request, as follows:

                        Penalty per Day        Period of Noncompliance

                        $2,000                 1st through 14th Day
                        $5,000                 15th through 30th Day
                        $10,000                31st Day and beyond

        92.     False Statements. Defendants shall pay a stipulated penalty of $1,000,000 for each

 report or Submission required to be submitted pursuant to this Consent Decree that contains a

 knowingly false, fictitious, or fraudulent statement or representation of material fact.

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         93.     Stipulated penalties under this Section shall begin to accrue on the Day after

 performance is due or on the Day a violation occurs, whichever is applicable, and shall continue

 to accrue until performance is satisfactorily completed or until the violation ceases. Stipulated

 penalties shall accrue simultaneously for separate violations of this Consent Decree.

         94.     The United States, in consultation with CARB, shall issue any demand for

 stipulated penalties in writing to Defendants. The written demand for payment of stipulated

 penalties shall specifically identify the violation.

         95.     Defendants shall pay any stipulated penalties to the United States and CARB, as

 applicable, within 30 Days of receiving the written demand. Defendants shall pay 84% of the

 total stipulated penalty amount due to the United States and 16% to CARB, except for:

 (i) violations of the civil penalty payment requirements of Paragraph 10, for which Defendants

 shall pay stipulated penalties as specified by Paragraph 71; (ii) violations of the Emission

 Modification Program Rate requirements of Paragraph 31, for which Defendants shall pay

 stipulated penalties as specified by Paragraph 79; (iii) violations of Corporate Compliance

 Provisions in Paragraphs 43–50, for which Defendants shall pay stipulated penalties to the

 United States; and (iv) violations of U.S. Mitigation Program requirements covered by

 Paragraphs 51–58, for which Defendants shall pay stipulated penalties to the United States.

         96.     The United States, in consultation with CARB, shall issue any demand for

 stipulated penalties in writing to Defendants. The written demand for payment of stipulated

 penalties shall specifically identify the violation.

         97.     Either the United States or CARB may in the unreviewable exercise of its

 discretion, reduce or waive stipulated penalties otherwise due it under this Consent Decree.



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 However, no action by either the United States or CARB may reduce or waive stipulated

 penalties due the other.

        98.     Stipulated penalties shall continue to accrue as provided in Paragraph 93 during

 any Dispute Resolution, but need not be paid until the following:

                a.      If the dispute is resolved by agreement of the Parties or by a decision of

 EPA or CARB, as applicable, that is not appealed to the District Court, Defendants shall pay

 accrued penalties determined to be owing, together with interest, to the United States and CARB,

 as applicable, within 30 Days of the effective date of the agreement or the receipt of EPA’s or

 CARB’s decision or order.

                b.      If the dispute is appealed to the District Court and the United States or

 California prevails in whole or in part, Defendants shall pay all accrued penalties determined by

 the Court to be owing, together with interest, within 60 Days of receiving the Court’s decision or

 order, except as provided in Paragraph 98.c, below.

                c.      If any Party appeals the District Court’s decision and the United States or

 California prevails in whole or in part, Defendants shall pay all accrued penalties determined to

 be owing, together with interest, within 15 Days of receiving the final appellate court decision.

                d.      The interest payable under this Paragraph shall accrue from 30 Days after

 Defendants’ receipt of the written demand for penalties through the date of payment. The interest

 shall be computed at the rate specified in 28 U.S.C. § 1961 as of the date falling 30 Days after

 Defendants’ receipt of the written demand for penalties.

        99.     Obligations Prior to the Effective Date. Upon the Effective Date, the stipulated

 penalty provisions of this Consent Decree shall be retroactively enforceable with regard to any

 and all violations of requirements of this Consent Decree that have occurred from the Date of

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 Lodging to the Effective Date, provided that stipulated penalties that may have accrued prior to

 the Effective Date may not be collected unless and until this Consent Decree is entered by the

 Court.

          100.   Defendants shall pay stipulated penalties owing to the United States in the manner

 set forth and with the confirmation notices required by Paragraph 11, except that the transmittal

 letter shall state that the payment is for stipulated penalties and shall state for which violation(s)

 the penalties are being paid.

          101.   Defendants shall pay stipulated penalties owing to CARB in the manner set forth

 in Paragraph 12, except that the transmittal letter shall state that the payment is for stipulated

 penalties and shall state for which violation(s) the penalties are being paid.

          102.   Stipulated penalties paid to CARB under this Consent Decree shall be deposited

 into the Air Pollution Control Fund for the purpose of enhancing CARB’s mobile source

 emissions control program through additional certification review, in-use evaluation, real-world

 testing, enforcement actions, costs, and other CARB activities related to the control of air

 pollution.

          103.   If Defendants fail to pay stipulated penalties according to the terms of this

 Consent Decree, Defendants shall be liable for interest on such penalties, as provided for in

 28 U.S.C. § 1961, to the United States and California Code of Civil Procedure § 685.010 to

 California, accruing as of the date payment became due and continuing until payment has been

 made in full. Nothing in this Paragraph shall be construed to limit the United States or California

 from seeking any remedy otherwise provided by law for Defendants’ failure to pay any

 stipulated penalties.



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        104.    The payment of stipulated penalties and interest, if any, shall not alter in any way

 Defendants’ obligation to complete the performance of the requirements of this Consent Decree.

        105.    Non-Exclusivity of Remedy. Stipulated penalties are not the United States’ or

 California’s exclusive remedy for violations of this Consent Decree, including violations of this

 Consent Decree that are also violations of law. Subject to the provisions of Section XIII (Effect

 of Settlement/Reservation of Rights), the United States and California expressly reserve the right

 to seek any other relief they deem appropriate for Defendants’ violation of this Consent Decree

 or applicable law, including but not limited to an action against Defendants for statutory

 penalties, additional administrative or injunctive relief, mitigation or offset measures, and/or

 contempt. However, the amount of any statutory penalty assessed for a violation of this Consent

 Decree shall be reduced by an amount equal to the amount of any stipulated penalty assessed and

 paid pursuant to this Consent Decree (to the United States or to CARB, respectively).

                                     X.      FORCE MAJEURE

        106.    “Force majeure,” for purposes of this Consent Decree, means any event arising

 from causes beyond the control of Defendants, of any entity controlled by Defendants, or of

 Defendants’ contractors or Dealers, that delays or prevents the performance of any obligation

 under this Consent Decree despite Defendants’ best efforts to fulfill the obligation. Given the

 need to protect public health and welfare and the environment, the requirement that Defendants

 exercise “best efforts to fulfill the obligation” includes using best efforts to anticipate any

 potential force majeure and best efforts to address the effects of any potential force majeure — as

 it is occurring and following the potential force majeure — such that any delay or non-

 performance is, and any adverse effects of the delay or non-performance are, minimized to the



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 greatest extent possible. “Force majeure” does not include financial inability to perform any

 obligation under this Consent Decree.

        107.    If any event occurs for which Defendants will or may assert a claim of force

 majeure, Defendants shall provide initial notice to the United States, EPA, the California

 Attorney General, and CARB by electronic mail transmitted to the e-mail addresses set forth in

 Section XV (Notices and Submissions). The deadline for the initial notice is seven Days after

 Defendants first knew or should have known that the event would likely delay or prevent

 performance. Defendants shall be deemed to know of any circumstance of which any Dealer of,

 contractor of, subcontractor of, or entity controlled by Defendants knew or should have known.

        108.    If Defendants seek to assert a claim of force majeure concerning the event, within

 seven Days after the initial notice under Paragraph 107, Defendants shall submit a further notice

 to the United States, EPA, the California Attorney General, and CARB by electronic mail

 transmitted to the e-mail addresses set forth in Section XV (Notices and Submissions). That

 further notice shall include: (i) an explanation and description of the event and its effect on

 Defendants’ completion of the requirements of the Consent Decree; (ii) a description and

 schedule of all actions taken or to be taken to prevent or minimize the delay and/or other adverse

 effects of the event; (iii) if applicable, the proposed extension of time for Defendants to complete

 the requirements of the Consent Decree; (iv) Defendants’ rationale for attributing such delay to a

 force majeure; (v) a statement as to whether, in the opinion of Defendants, such event may cause

 or contribute to an endangerment to public health or welfare or the environment; and (vi) all

 available proof supporting the claim that the delay was attributable to a force majeure.




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        109.    Failure to submit a timely or complete notice or claim under Paragraph 107 or 108

 regarding an event precludes Defendants from asserting any claim of force majeure regarding

 that event.

        110.    If the United States, EPA, the California Attorney General, and CARB agree that

 the delay or anticipated delay is attributable to a force majeure event, the time for performance of

 the obligations under this Consent Decree that are affected by the force majeure event will be

 extended by the United States, EPA, the California Attorney General, or CARB, as applicable,

 for such time as is necessary to complete those obligations. An extension of the time for

 performance of the obligations affected by the force majeure event shall not, of itself, extend the

 time for performance of any other obligation. The United States, EPA, the California Attorney

 General, or CARB will notify Defendants in writing of the length of the extension, if any, for

 performance of the obligations affected by the force majeure event.

        111.    If the United States, EPA, the California Attorney General, or CARB do not agree

 that the delay or anticipated delay has been or will be caused by a force majeure event, the

 United States, EPA, the California Attorney General, or CARB will notify Defendants in writing

 of that decision.

        112.    If Defendants elect to invoke the dispute resolution procedures set forth in

 Section XI (Dispute Resolution), it shall do so no later than 15 Days after receipt of a notice

 from the United States, EPA, the California Attorney General, or CARB under Paragraph 111. In

 any such proceeding, Defendants have the burden of proving that it is entitled to relief under

 Paragraph 106, that its proposed excuse or extension was or will be warranted under the

 circumstances, and that it complied with the requirements of Paragraphs 106–108. If Defendants

 carry this burden, the delay or non-performance at issue shall be deemed not to be a violation by

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 Defendants of the affected obligation of this Consent Decree identified to the United States,

 EPA, the California Attorney General, CARB, and the Court.

                                 XI.     DISPUTE RESOLUTION

          113.   Unless otherwise expressly provided for in this Consent Decree, the dispute

 resolution procedures of this Section shall be the exclusive mechanism to resolve disputes arising

 between the Parties under or with respect to this Consent Decree. Defendants’ failure to seek

 resolution of a dispute under this Section concerning an issue of which it had notice and an

 opportunity to dispute under this Section prior to an action by the United States or CARB to

 enforce any obligation of Defendants arising under this Consent Decree precludes Defendants

 from raising any such issue as a defense to any such enforcement action.

          114.   Informal Dispute Resolution. Any dispute subject to dispute resolution under this

 Consent Decree shall first be the subject of informal negotiations. The dispute shall be

 considered to have arisen when Defendants send the United States and CARB a written notice of

 dispute. Such notice of dispute shall clearly state the matter in dispute. If the matter in dispute

 relates to Section VII (Mitigation), then only the United States (not CARB) will be involved in

 the dispute resolution process. The period of informal negotiations shall not exceed 20 Days

 from the date Defendants sent its notice of dispute, unless that period is modified by a written

 agreement of the Parties. If the Parties cannot resolve a dispute by informal negotiations, then the

 position(s) advanced by the United States/CARB (i.e., the United States and/or CARB, as

 applicable) shall be considered binding unless, within 30 Days after the conclusion of the

 informal negotiation period, Defendants invoke formal dispute resolution procedures as set forth

 below.



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        115.    Formal Dispute Resolution. Defendants shall invoke formal dispute resolution

 procedures, within the time period provided in the preceding Paragraph, by sending the United

 States/CARB a written statement of position regarding the matter in dispute. The statement of

 position shall include, but need not be limited to, any factual data, analysis, or opinion

 supporting Defendants’ position and any supporting documentation relied upon by Defendants.

        116.    The United States, after consultation with CARB (unless the matter in dispute

 relates to Section VII (Mitigation)), will send Defendants a statement of position within 45 Days

 of receipt of Defendants’ statement of position. The United States’/CARB’s statement of

 position shall include, but need not be limited to, any factual data, analysis, or opinion

 supporting that position and any supporting documentation relied upon by the United

 States/CARB. The United States’/CARB’s statement of position is binding on Defendants,

 unless Defendants file a motion for judicial review of the dispute in accordance with the

 following Paragraph.

        117.    Judicial Dispute Resolution. Defendants may seek judicial review of the dispute

 by filing with the Court and serving on the United States/CARB a motion requesting judicial

 resolution of the dispute. The motion must be filed within 30 Days of receipt of the United

 States’ statement of position pursuant to the preceding Paragraph. The motion may not raise any

 issue that Defendants did not raise in informal dispute resolution pursuant to Paragraph 114

 unless the issue was first raised by the United States’/CARB’s statement of position. The motion

 shall contain a written statement of Defendants’ position on the matter in dispute, including any

 supporting factual data, analysis, opinion, or documentation, and shall set forth the relief

 requested and any schedule within which the dispute must be resolved for orderly

 implementation of the Consent Decree.

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         118.    The United States/CARB shall respond to Defendants’ motion within the time

 period allowed by the Local Rules of this Court. Defendants may file a reply memorandum, to

 the extent permitted by the Local Rules.

         119.    Standard of Review.

                 a.     Disputes Concerning Matters Accorded Record Review. Except as

 otherwise provided in this Consent Decree, in any dispute brought pursuant to Paragraph 117

 that pertains to:

                        1)     the adequacy or appropriateness of plans or procedures to

 implement plans, schedules, or any other item that requires approval by EPA/CARB under this

 Consent Decree;

                        2)     the adequacy of the performance of work undertaken pursuant to

 this Consent Decree; and/or

                        3)     all other disputes that are accorded review on the administrative

 record under applicable principles of administrative law,

 Defendants shall have the burden of demonstrating, based on the administrative record, that the

 position of EPA/CARB, as applicable, is arbitrary and capricious or otherwise not in accordance

 with law based on the administrative record. For purposes of this Paragraph, EPA/CARB will

 maintain an administrative record of the dispute, which will contain all statements of position,

 including supporting documentation, submitted pursuant to this Section. Prior to the filing of any

 motion, the Parties may submit additional materials to be part of the administrative record

 pursuant to applicable principles of administrative law.

                 b.     Other Disputes. Except as otherwise provided in this Consent Decree, in

 any other dispute brought pursuant to Paragraph 117, Defendants shall bear the burden of

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 demonstrating by a preponderance of the evidence that its position complies with this Consent

 Decree.

         120.    In any disputes brought under this Section, it is hereby expressly acknowledged

 and agreed that this Consent Decree was jointly drafted in good faith by the United States,

 California, and Defendants. Accordingly, the Parties hereby agree that all rules of construction to

 the effect that ambiguity is construed against the drafting party shall be inapplicable in any

 dispute concerning the terms, meaning, or interpretation of this Consent Decree.

         121.    The invocation of dispute resolution procedures under this Section shall not, by

 itself, extend, postpone, or affect in any way any obligation of Defendants under this Consent

 Decree, unless and until final resolution of the dispute so provides. Stipulated penalties with

 respect to the disputed matter shall continue to accrue from the first Day of noncompliance, but

 payment shall be stayed pending resolution of the dispute as provided in Paragraph 98. If

 Defendants do not prevail on the disputed issue, stipulated penalties shall be assessed and paid as

 provided in Section IX (Stipulated Penalties).

                  XII.    INFORMATION COLLECTION AND RETENTION

         122.    Access to Information. The United States, CARB, and their representatives,

 including attorneys, contractors, and consultants (collectively, “Agency Representatives”), shall

 have the right of entry, upon presentation of credentials, at all reasonable times into any of

 Defendants’ offices, plants, or facilities:

                 a.      to monitor the progress of activities required under this Consent Decree;

                 b.      to verify any data or information submitted to the United States or CARB

 in accordance with the terms of this Consent Decree;

                 c.      to obtain documentary evidence, including photographs and similar data;

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                 d.      to assess Defendants’ compliance with this Consent Decree; and/or

                 e.      for other purposes as set forth in 42 U.S.C. § 7542(b) and Cal. Gov’t Code

 § 11180 et seq.

         123.    Records Retention and Access to Records.

                 a.      Until three years after the termination of this Consent Decree, Defendants

 shall retain, and shall instruct its contractors and agents to preserve, all Records in its or its

 contractors’ or agents’ possession or control, or that come into its or its contractors’ or agents’

 possession or control, and that relate in any manner to Defendants’ performance of its

 obligations under this Consent Decree. The United States and CARB have an interest in these

 Records, which are necessary to their ability to oversee and assess Defendants’ compliance with

 the terms of this Consent Decree resolving the United States’ and CARB’s allegations in their

 respective Complaints. These information-retention requirements shall apply regardless of any

 contrary corporate or institutional policies or procedures. Nothing in this Paragraph shall apply to

 any documents in the possession, custody, or control of any outside legal counsel retained by

 Defendants in connection with this Consent Decree or of any contractors or agents retained by

 such outside legal counsel solely to assist in the legal representation of Defendants.

                 b.      At any time during the three-year information-retention period specified

 by Paragraph 123.a, upon request by the United States or CARB, Defendants shall provide the

 requesting agency representative copies of any Records required to be maintained under

 Paragraph 123.a within 15 Days and an English translation of the requested copies of Records, if

 the original is in a non-English language, within 15 Days, subject to reasonable extension if

 necessary by approval of the United States or CARB.



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        124.    Privileged or Protected Information. Defendants may assert that certain Records

 contain material that is privileged or protected as provided under federal or California law. If

 Defendants assert such a privilege or protection, Defendants shall provide the requesting agency

 representative a redacted version of the Record and the following information, if it is not

 apparent in the redacted version of the Record: (i) the title of the Record; (ii) the date of the

 Record; (iii) the name and title of each author of the Record; (iv) the name and title of each

 addressee and recipient; (v) a description of the subject of the Record; and (vi) the privilege or

 protection asserted by Defendants. However, Defendants may make no claim of privilege or

 protection regarding: (i) any data regarding the Subject Engines that Defendants are required to

 create or generate pursuant to this Consent Decree; or (ii) the final version of a portion of any

 record that Defendants are required to create or generate pursuant to this Consent Decree.

        125.    Confidential Business Information. Defendants may also assert that Records

 required to be provided under this Consent Decree are protected as Confidential Business

 Information (“CBI”) under 40 C.F.R. Part 2 or 17 C.C.R. §§ 91000 et seq. As to any Record that

 Defendants seeks to protect as CBI, Defendants and the United States and/or California, as

 applicable, shall follow the procedures set forth in 40 C.F.R. Part 2, and, for California, in

 17 C.C.R. § 91000 et seq.

        126.    This Consent Decree in no way limits or affects any right of entry and inspection,

 or any right to obtain information, held by the United States or California pursuant to applicable

 federal or state laws, regulations, or permits, nor does it limit or affect any duty or obligation of

 Defendants to maintain Records imposed by applicable federal or state laws, regulations, or

 permits.



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               XIII. EFFECT OF SETTLEMENT/RESERVATION OF RIGHTS

        127.    Effect of Settlement of Civil Claims of the United States. Subject to the

 reservations of rights in this Section, this Consent Decree resolves the United States’ civil claims

 for civil penalties and injunctive relief against Defendants for: (i) the violations alleged in the

 U.S. Complaint in this action through the Date of Lodging; and (ii) violations arising from or

 relating to Defendants’ applications for Certificates of Conformity, Running Changes, and Field

 Fixes for the Subject Engines, any Emission Control System configurations approved by such

 Certificates, Running Changes, and Field Fixes, and any information provided to EPA for the

 purpose of securing such COCs, Running Changes, and Field Fixes. Payment of the civil penalty

 described herein also resolves the civil claims of CBP and NHTSA, as set forth in the CBP

 Agreement and NHTSA Agreement, respectively.

        128.    Effect of Settlement of Civil Claims of California. Subject to the reservations of

 rights in this Section, this Consent Decree resolves all the civil claims of California for civil

 penalties and injunctive relief against Defendants for: (i) the violations alleged in the California

 Complaint in this action through the Date of Lodging; and (ii) violations arising from or relating

 to Defendants’ applications for Executive Orders, Running Changes, and Field Fixes for the

 Subject Engines, any Emission Control System configurations approved by such Executive

 Orders, Running Changes, and Field Fixes and any information provided to CARB for the

 purpose of securing such Executive Orders.

        129.    Upon the Effective Date, and subject to the reservations in this Section, this

 Consent Decree resolves California’s claims for costs of investigating and prosecuting

 Defendants’ violations identified in the California Complaint.



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        130.    The amount of the civil penalty is based on an analysis of the Financial

 Information, which demonstrated that Defendants have a limited ability to pay a civil penalty.

 Defendants hereby certify that the Financial Information provided is true, accurate, and complete

 and that there has been no material change in Defendants’ financial condition between the time

 the Financial Information was submitted and the date of Defendants’ execution of this Consent

 Decree. Notwithstanding any other provision of this Consent Decree, the United States and

 CARB reserve the right to reinstitute or reopen this action, or to commence a new action seeking

 relief other than as provided in this Consent Decree, if the Financial Information Defendants

 provided is false, or in any material respect inaccurate or incomplete. This right is in addition to

 any other rights and causes of action, civil or criminal, that the United States or CARB may have

 under law or equity in such event.

        131.    Reservations of Rights by the United States and California.

                a.      The United States and California reserve all legal and equitable remedies

 available to enforce the provisions of this Consent Decree.

                b.      The United States further reserves any claim(s) of any agency of the

 United States other than EPA, CBP, and NHTSA, subject to any reservations in the CBP

 Agreement and NHTSA Agreement.

                c.      California further reserves, and this Consent Decree is without prejudice

 to, any and all claims, rights, and remedies against Defendants with respect to:

                        (a)     further injunctive relief, including prohibitory and mandatory

 injunctive provisions intended to enjoin, prevent, and deter future misconduct, and/or incentivize

 its detection, disclosure, and/or prosecution; or to enjoin false advertising, violation of



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 environmental laws, violation of consumer laws, the making of false statements, or the use or

 employment of any practice that constitutes unfair competition;

                        (b)     further injunctive relief pursuant to the California Health and

 Safety Code as alleged in the California Complaint to mitigate the total lifetime excess emissions

 in California from the Subject Engines, which injunctive relief is fully set forth in and resolved

 by the California Partial Decree, lodged concurrently with this Consent Decree;

                        (c)     any part of any claims for the violation of securities or false claims

 laws;

                        (d)     any criminal liability;

                        (e)     any and all other claim(s) of any officer or agency of the State of

 California other than CARB;

                        (f)     any and all claims for relief to customers, including claims for

 restitution, refunds, rescission, damages, disgorgement;

                        (g)     any and all claims of California Attorney General; and

                        (h)     any all claims held by individual consumers.

         132.   This Consent Decree shall not be construed to limit the rights of the United States

 or California to obtain penalties or injunctive relief under the Act or implementing regulations,

 or under other federal or state laws, regulations, or permit conditions, except as expressly

 specified in Paragraphs 127–129. The United States and California further reserve all legal and

 equitable remedies to address any conditions if there is or may be an imminent and substantial

 endangerment to the public health or welfare or the environment arising at any of Defendants’

 facilities, or posed by Subject Vehicles, whether related to the violations addressed in this

 Consent Decree or otherwise. This Consent Decree does not impair the California Attorney

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 General’s right to seek relief for the claims alleged in the California Complaint or other

 violations of applicable law. However, the California Partial Decree and the California Attorney

 General Agreement resolve the remaining claims in the California Complaint.

         133.    In any subsequent administrative or judicial proceeding initiated by the United

 States or California for injunctive relief, civil penalties, other appropriate relief relating to any

 alleged violations by Defendants, Defendants shall not assert, and may not maintain, any defense

 or claim based upon the principles of waiver, claim preclusion (res judicata), issue preclusion

 (collateral estoppel), claim-splitting, or other defenses based upon any contention that the claims

 raised by the United States or California in the subsequent proceeding were or should have been

 brought in the instant case, except with respect to claims that have been specifically resolved

 pursuant to Paragraphs 127–129.

         134.    This Consent Decree is not a permit, or a modification of any permit, under any

 federal, State, or local laws or regulations. Defendants are responsible for achieving and

 maintaining complete compliance with all applicable federal, state, and local laws, regulations,

 and permits; and Defendants’ compliance with this Consent Decree shall be no defense to any

 action commenced pursuant to any such laws, regulations, or permits, except as set forth herein.

 The United States and California do not, by their consent to the entry of this Consent Decree,

 warrant or aver in any manner that Defendants’ compliance with any aspect of this Consent

 Decree will result in compliance with provisions of the Act or with any other provisions of

 federal, state, or local laws, regulations, or permits.

         135.    This Consent Decree does not limit or affect the rights of Defendants or of the

 United States or California against any third parties not party to this Consent Decree, nor does it



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 limit or affect the rights of third parties not party to this Consent Decree against Defendants,

 except as otherwise provided by law.

        136.    This Consent Decree shall not be construed to create rights in, or grant any cause

 of action to, any third party not party to this Consent Decree.

                                           XIV. COSTS

        137.    The Parties shall bear their own costs of this action, including attorneys’ fees,

 subject to Paragraph 131.c, except that the United States and CARB shall be entitled to collect

 the costs (including attorneys’ fees) incurred in any action necessary to collect any portion of the

 civil penalty or any stipulated penalties due under this Consent Decree but not paid by

 Defendants.

                             XV.     NOTICES AND SUBMISSIONS

        138.    Unless otherwise specified in this Consent Decree, Submissions shall be

 accompanied by a cover letter and submitted electronically as described below, unless such

 notices are unable to be uploaded to the CDX electronic system (in the case of EPA) or

 transmitted by email (in the case of any other party). For all Submissions to EPA, Defendants

 shall register for the CDX electronic system and upload such notices at

 https://cdx.epa.gov/epa_home.asp. Any Submissions that cannot be uploaded to CDX or

 transmitted via email or via a secure server shall be provided in writing via overnight mail (and if

 any attachment is voluminous, it shall be provided on a disk, hard drive, or other equivalent

 successor technology) to the addresses below:

        As to the United States:               DOJ at the email, or if necessary, the mail addresses
                                               below
                                               and
                                               EPA (via CDX or the mail address below if CDX is
                                               not possible)

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       As to DOJ by email:            eescdcopy.enrd@usdoj.gov
                                      Re: DJ # 90-5-2-1-12300

       As to DOJ by U.S. mail:        EES Case Management Unit
                                      Environment and Natural Resources Division
                                      U.S. Department of Justice
                                      P.O. Box 7611
                                      Washington, DC 20044-7611
                                      Re: DJ # 90-5-2-1-12300

       As to DOJ by overnight mail:   4 Constitution Square
                                      150 M Street, N. E.
                                      Suite 2.900
                                      Washington, DC 20002
                                      Re: DJ # 90-5-2-1-12300

       As to EPA by email:            kaul.meetu@epa.gov
                                      steinberg.kayla@epa.gov
                                      altendorfer.ian@epa.gov
                                      kane.eleanor@epa.gov

       As to EPA by U.S. mail:        Director, Air Enforcement Division
                                      1200 Pennsylvania Avenue, NW
                                      William J. Clinton South Building
                                      MC 2242A
                                      Washington, DC 20460

       As to California:              CARB and the California Attorney General at the
                                      email or if necessary, mail addresses below, as
                                      applicable. All information should be submitted to
                                      CARB electronically without paper copies, where
                                      possible.

       As to CARB by email:           HinoCD@arb.ca.gov

       As to CARB by mail:            Chief Counsel
                                      California Air Resources Board
                                      Legal Office
                                      1001 I Street
                                      Sacramento, CA 95814

       As to CARB by telephone:       916-322-2884



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        As to the California
        Attorney General by email:           Mike.Cayaban@doj.ca.gov
                                             Myung.Park@doj.ca.gov
                                             Josh.Caplan@doj.ca.gov
                                             Ryan.Hoffman@doj.ca.gov

        As to the California
        Attorney General by mail:            Mike Cayaban
                                             Myung Park
                                             Supervising Deputy Attorneys General

                                             Joshua Caplan
                                             Ryan Hoffman
                                             Corey Moffat
                                             Deputy Attorneys General

                                             Natural Resources Law Section
                                             Office of the Attorney General
                                             455 Golden Gate Avenue, Suite 110009
                                             San Francisco, CA 94102

        As to Hino:                          Counsel for Hino and Hino at the email or if
                                             necessary, mail addresses below.

        As to Hino by email:                 lbreuer@cov.com
                                             nkutler@cov.com
                                             jmizerak@cov.com
                                             123388@hino.co.jp
                                             MKulick@HMMUSA.COM
                                             SChacko@hino.com

        As to Hino by mail:                  Lanny Breuer
                                             Noam Kutler
                                             Jack Mizerak
                                             Covington & Burling LLP
                                             850 10th Street Northwest
                                             Washington, DC 20001
                                             Telephone: (202) 662-6000

        139.   Any Party may, by written notice to the other Parties, change its designated

 Submissions recipient or submission address provided in Paragraph 138.




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         140.    Submissions pursuant to this Section shall be deemed submitted upon mailing or

 transmission by email, unless otherwise provided in this Consent Decree or by mutual agreement

 of the Parties in writing.

                                    XVI. EFFECTIVE DATE

         141.    The Effective Date of this Consent Decree shall be the date upon which this

 Consent Decree is entered by the Court or a motion to enter the Consent Decree is granted,

 whichever occurs first, as recorded on the Court’s docket; provided, however, that Defendants

 hereby agree that they shall be bound to perform duties under this Consent Decree scheduled to

 occur prior to the Effective Date and shall perform those duties pursuant to this Consent Decree.

 In the event the United States withdraws or withholds consent to this Consent Decree before

 entry, or the Court declines to enter the Consent Decree, then the preceding requirement to

 perform duties scheduled to occur before the Effective Date shall terminate.

                              XVII. RETENTION OF JURISDICTION

         142.    The Court shall retain jurisdiction over this case, until termination of this Consent

 Decree, for the purpose of resolving disputes arising under this Consent Decree or entering

 orders modifying this Consent Decree, pursuant to Sections XI (Dispute Resolution) and XVIII

 (Modification), or effectuating or enforcing compliance with the terms of this Consent Decree.

 The Court shall retain jurisdiction over this case for the provisions of this Consent Decree that

 remain after termination.

                                     XVIII. MODIFICATION

         143.    The terms of this Consent Decree, including any attached appendices, may be

 modified only by a subsequent written agreement signed by all the Parties. Where the



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 modification constitutes a material change to this Consent Decree, it shall be effective only upon

 approval by the Court.

        144.    The United States or CARB, as applicable, will file any non-material

 modifications with the Court. Non-material modifications shall include, without limitation:

 (i) changes to the method of Submission unless this Consent Decree originally mandated that a

 Submission be made public and the proposed change involves changing that method of

 submission to make it non-public; (ii) extensions of time not to exceed 90 Days at a time or 180

 Days cumulatively with respect to any single deadline; and (iii) corrections of scrivener’s errors.

        145.    Any disputes concerning modification of this Consent Decree shall be resolved

 pursuant to Section XI (Dispute Resolution), provided, however, that, instead of the burdens of

 proof provided by Paragraph 119, the Party seeking the modification bears the burden of

 demonstrating that it is entitled to the requested modification in accordance with Federal Rule of

 Civil Procedure 60(b).

                                      XIX. TERMINATION

        146.    No earlier than five years after the Effective Date, after Defendants have

 completed the requirements of Section VI.A (Engine Compliance) and Section VII (Mitigation);

 have demonstrated that they are in compliance with the requirements of Section VI.B (Corporate

 Compliance); have complied with all other requirements of this Consent Decree; and have paid

 the civil penalty, any stipulated penalties, and any accrued interest, as required under this

 Consent Decree, Defendants may serve upon the United States and CARB a request for

 termination, stating that Defendants have satisfied those requirements, together with all

 necessary supporting documentation. Defendants may serve such a request for termination



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 notwithstanding specified requirements that shall continue after termination of the Consent

 Decree.

        147.    Following receipt by the United States and CARB of Defendants’ request for

 termination, the Parties shall confer informally concerning the request and any disagreement that

 the Parties may have as to whether Defendants have satisfactorily complied with the

 requirements for termination of this Consent Decree. If the United States (after consultation with

 CARB) agrees that the Consent Decree may be terminated, the United States shall file a motion

 or a stipulation and agreed order seeking entry of a Court order terminating the Decree; provided,

 however, that: (i) the provisions associated with effectuating and enforcing Paragraph 37 (Sale

 and Export Restrictions) shall continue in full force and effect for ten years from the Effective

 Date; and (ii) the provisions associated with effectuating and enforcing Paragraph 21

 (Establishment and Maintenance of Emission Modification and Extended Warranty Programs)

 shall continue in full force and effect until those provisions terminate by their own terms.

        148.    If the United States (after consultation with CARB) does not agree that this

 Consent Decree may be terminated, Defendants may invoke Dispute Resolution under

 Section XI (Dispute Resolution). However, Defendants shall not seek Dispute Resolution of any

 dispute regarding termination until at least 90 Days after service of its request for termination.

                                XX.    PUBLIC PARTICIPATION

        149.    This Consent Decree shall be lodged with the Court for a period of not less than

 30 Days for public notice and comment in accordance with 28 C.F.R. § 50.7. The United States

 reserves the right to withdraw or withhold its consent if the comments regarding this Consent

 Decree disclose facts or considerations indicating that this Consent Decree is inappropriate,

 improper, or inadequate. CARB reserves the right to withdraw or withhold its consent if the

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  United States does so. Defendants consent to entry of this Consent Decree without further notice

  and agree not to withdraw from or oppose entry of this Consent Decree by the Court or to

  challenge any provision of this Consent Decree, unless the United States has notified Defendants

  in writing that it no longer supports entry of this Consent Decree.

                                 XXI. SIGNATORIES/SERVICE

          150.   Each undersigned representative of Defendants, California, and the U.S.

  Department of Justice identified on the DOJ signature page below, certifies that that person is

  fully authorized to enter into the terms and conditions of this Consent Decree and to execute and

  legally bind the Party that person represents to this document.

          151.   This Consent Decree may be signed in counterparts, and its validity shall not be

  challenged on that basis. For purposes of this Consent Decree, a signature page that is

  transmitted electronically (e.g., by facsimile or emailed “PDF”) shall have the same effect as an

  original.

          152.   Defendants agree to accept service of process by regular U.S. mail, express mail,

  or electronic mail with respect to all matters arising under or relating to this Consent Decree and

  to waive the formal service requirements set forth in Rules 4 and 5 of the Federal Rules of Civil

  Procedure and any applicable Local Rules of this Court including, but not limited to, service of a

  summons. Defendants need not file an answer to the Complaints in this action unless or until the

  Court expressly declines to enter this Consent Decree.

                                      XXII. INTEGRATION

          153.   This Consent Decree constitutes the final, complete, and exclusive agreement and

  understanding among the Parties with respect to the settlement embodied in this Consent Decree

  and supersedes all prior agreements and understandings, whether oral or written, concerning the

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  settlement embodied herein. Other than deliverables that are subsequently submitted and

  approved pursuant to this Consent Decree, and the Coordinated Settlements, the Parties

  acknowledge that there are no representations, agreements, or understandings relating to the

  settlement other than those expressly contained in this Consent Decree.

                XXIII. 26 U.S.C. SECTION 162(f)(2)(A)(ii) IDENTIFICATION

         154.    For purposes of the identification requirement in Section 162(f)(2)(A)(ii) of the

  Internal Revenue Code, 26 U.S.C. § 162(f)(2)(A)(ii), and 26 C.F.R. § 1.162-21(b)(2),

  performance by Defendants of Section II (Applicability), Paragraph 7, Section V (Approval of

  Submissions; U.S./EPA/CARB Decision-Making), Paragraphs 17–19, Section VI (Compliance

  Requirements) (excluding Paragraphs 25 and 36), Section VII (Mitigation), Paragraphs 51–59,

  62, Section VIII (Reporting Requirements), Paragraphs 63–67, Section XII (Information

  Collection and Retention), Paragraphs 122–123, Section XV (Notices and Submissions),

  Paragraph 138, and the requirements of the documents identified and incorporated by Section

  XXV (Appendices), is restitution, remediation, or required to come into compliance with law.

                                        XXIV. HEADINGS

         155.    Headings to the Sections and Subsections of this Consent Decree are provided for

  convenience and do not affect the meaning or interpretation of the provisions of this Consent

  Decree.

                                       XXV. APPENDICES

         156.    The following Appendices are attached to and part of this Consent Decree:

         Appendix A: Identification of Subject Engines and Subject Engine Sub-Categories
         Appendix B: Extended Warranty for Modified Vehicles
         Appendix C: Extended Warranty for Subject Vehicles


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         Appendix D: Hino Financial Information

                                   XXVI. FINAL JUDGMENT

         157.   Upon approval and entry of this Consent Decree by the Court, this Consent

  Decree shall constitute a final judgment of the Court as to the United States, CARB, and

  Defendants. The Court therefore enters this judgment as a final judgment under Fed. R. Civ. P.

  54 and 58.


  Dated and entered this    day of __________, 20     .


                                       __________________________________
                                       UNITED STATES DISTRICT JUDGE




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             People of the State of California v. Hino Motors, Ltd. et al. (E.D. Mich.)


                                      FOR THE UNITED STATES OF AMERICA:

                                      TODD KIM
                                      Assistant Attorney General
                                      Environment and Natural Resources Division
                                      U.S. Department of Justice



  January 15, 2025                    ___________________________________________
  Date                                DAVID LAUFMAN WEIGERT (IL Bar 6231385)
                                      Senior Counsel
                                      ALEXANDRA SHERERTZ (MD Licensed)
                                      Senior Attorney
                                      Environmental Enforcement Section
                                      Environment and Natural Resources Division
                                      U.S. Department of Justice
                                      P.O. Box 7611, Ben Franklin Station
                                      Washington, DC 20044-7611
                                      (202) 514-0133
                                      david.weigert@usdoj.gov

                                      LOCAL COUNSEL

                                      DAWN N. ISON
                                      United States Attorney

                                      KEVIN R. ERSKINE (P69120)
                                      ANTHONY C. GENTNER (P79535)
                                      Assistant United States Attorneys
                                      211 W. Fort Street, Suite 2001
                                      Detroit, Michigan 48226
                                      (313) 226-9778
                                      anthony.gentner2@usdoj.gov




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            People of the State of California v. Hino Motors, Ltd. et al. (E.D. Mich.)


                                     FOR THE U.S. ENVIRONMENTAL PROTECTION
                                     AGENCY:

                                                                 Digitally signed by CECIL
                                     CECIL RODRIGUES RODRIGUES
                                     _________________________________________
                                                             Date: 2025.01.13 12:57:04 -05'00'

                                     CECIL RODRIGUES
                                     Acting Assistant Administrator
                                     Office of Enforcement and Compliance Assurance
                                     United States Environmental Protection Agency

                                     ROSEMARIE $KELLEY
                                     Office Director
                                     Office of Civil Enforcement
                                     Office of Enforcement and Compliance Assurance
                                     United States Environmental Protection Agency

                                     MARY E. GREENE
                                     Division Director
                                     Air Enforcement Division
                                     Office of Civil Enforcement
                                     Office of Enforcement and Compliance Assurance
                                     United States Environmental Protection Agency

                                     MEETU KAUL
                                     Senior Legal Advisor
                                     IAN D. ALTENDORFER
                                     KAYLA STEINBERG
                                     Attorney-Advisors
                                     Air Enforcement Division
                                     Office of Civil Enforcement
                                     Office of Enforcement and Compliance Assurance
                                     United States Environmental Protection Agency




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  FOR THE PEOPLE OF THE STATE OF CALIFORNIA BY AND THROUGH THE
  CALIFORNIA AIR RESOURCES BOARD:




  Date: ______________
        January 13, 2025                     ___________________________
                                             MICHAEL P. CAYABAN
                                             MYUNG J. PARK
                                             Supervising Deputy Attorneys General
                                             RYAN R. HOFFMAN
                                             JOSHUA M. CAPLAN
                                             COREY M. MOFFAT
                                             Deputy Attorneys General
                                             California Department of Justice
                                             Office of the Attorney General
                                             455 Golden Gate Avenue, Suite 11000
                                             San Francisco, CA 94102




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            People of the State of California v. Hino Motors, Ltd. et al. (E.D. Mich.)


  FOR THE CALIFORNIA AIR RESOURCES BOARD:



  Date:January 13, 2025
        ______________                       ___________________________
                                             LIANE M. RANDOLPH
                                             Chair
                                             California Air Resources Board
                                             1001 I Street
                                             Sacramento, CA 95814


                                             ___________________________
                                             STEVEN S. CLIFF, PH.D.
                                             Executive Officer
                                             California Air Resources Board
                                             1001 I Street
                                             Sacramento, CA 95814


                                             ___________________________
                                             ELLEN M. PETER
                                             Chief Counsel
                                             ABIGAIL D. MAY
                                             Deputy Counsel
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        Signature Page for Consent Decree in United States v. Hino Motors, Ltd. et al. and
            People of the State of California v. Hino Motors, Ltd. et al. (E.D. Mich.)


  COUNSEL FOR HINO MOTORS, LTD.,
  HINO MOTORS MANUFACTURING U.S.A., INC., AND
  HINO MOTORS SALES U.S.A., INC.:



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                                      Appendix A

           Identification of Subject Engines and Subject Engine Sub-Categories

              MY       Engine Family         Model         Engine Category
               2010    AHMXH07.7JVB          J08E          Highway
               2010    AHMXH07.7JVC          J08E          Highway
               2011    BHMXH07.7JVB          J08E          Highway
               2011    BHMXH07.7JVC          J08E          Highway
               2012    CHMXH05.1JTP          J05E          Highway
               2012    CHMXH07.7JVB          J08E          Highway
               2012    CHMXH07.7JVC          J08E          Highway
               2013    DHMXH05.1JTP          J05E          Highway
               2013    DHMXH07.7JVB          J08E          Highway
               2013    DHMXH07.7JVC          J08E          Highway
               2014    EHMXH05.1JTP          J05E          Highway
               2014    EHMXH07.7JVB          J08E          Highway
               2014    EHMXH07.7JVC          J08E          Highway
               2015    FHMXH05.1JTP          J05E          Highway
               2015    FHMXH07.7JVB          J08E          Highway
               2015    FHMXH07.7JVC          J08E          Highway
               2016    GHMXH05.1JTP          J05E          Highway
               2016    GHMXH07.7JVB          J08E          Highway
               2016    GHMXH07.7JWU          J08E          Highway
               2017    HHMXH05.1JTP          J05E          Highway
               2017    HHMXH07.7JVB          J08E          Highway
               2017    HHMXH07.7JWU          J08E          Highway
               2018    JHMXH05.1JTP          J05E          Highway
               2018    JHMXH07.7JVB          J08E          Highway
               2019    KHMXH05.1JTP          J05E          Highway
               2019    KHMXH07.7JVB          J08E          Highway
               2019    KHMXH08.9AVF          A09C          Highway
               2011    BHMXL07.7JUV          J05E, J08E    Nonroad
               2011    BHMXL10.5PVC          P11C          Nonroad
               2011    BHMXL12.9EVV          E13C          Nonroad
               2012    CHMXL05.1JTJ          J05E          Nonroad
               2012    CHMXL07.7JUV          J05E, J08E    Nonroad
               2012    CHMXL10.5PVC          P11C          Nonroad
               2012    CHMXL12.9EVV          E13C          Nonroad
               2013    DHMXL05.1JTJ          J05E          Nonroad
               2013    DHMXL07.7JUV          J05E, J08E    Nonroad
               2013    DHMXL10.5PVC          P11C          Nonroad

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                2013   DHMXL12.9EVV      E13C         Nonroad
                2014   EHMXL05.1JTJ      J05E         Nonroad
                2014   EHMXL07.7JVV      J05E, J08E   Nonroad
                2015   FHMXL07.7JVV      J05E, J08E   Nonroad
                2015   FHMXL10.5PVN      P11C         Nonroad
                2016   GHMXL07.7JVV      J05E, J08E   Nonroad
                2016   GHMXL10.5PVN      P11C         Nonroad
                2017   HHMXL07.7JVV      J05E, J08E   Nonroad
                2017   HHMXL10.5PVN      P11C         Nonroad
                2018   JHMXL07.7JVV      J05E, J08E   Nonroad
                2018   JHMXL10.5PVN      P11C         Nonroad
                2019   KHMXL05.1JVA      J05E         Nonroad
                2019   KHMXL07.7JVV      J05E, J08E   Nonroad
                2019   KHMXL07.7JWV      J08E         Nonroad
                2019   KHMXL07.7JYD      J05E, J08E   Nonroad
                2019   KHMXL10.5PVN      P11C         Nonroad
                2019   KHMXL12.9EYM      E13C         Nonroad




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                                            Appendix B

                            Extended Warranty for Modified Vehicles


  Subject to standard limitations that must be identified to Eligible Owners and Eligible Lessees,
  which may set forth exclusions like accident, abuse, neglect, or installation of unexempted parts
  (as that term is described in 13 C.C.R. § 2036(d)(10)), and applicable existing warranty
  provisions that will remain in effect, pursuant to Paragraph 32 of the Consent Decree, the
  Extended Warranty for Modified Vehicles shall cover the cost of all parts and labor needed to
  repair the items listed below, including diagnostic services and OBD scans, and shall remain in
  effect for five (5) years from the date of installation of an Approved Emission Modification,
  regardless of mileage:


         1.      Diesel Oxidation Catalyst (“DOC”),

         2.      Selective Catalyst Reduction (“SCR”) Catalyst,

         3.      Exhaust Gas Recirculation (“EGR”) Valve.

         4.      Engine Control Unit (“ECU”) and Software,

         5.      DEF Line Heaters,

         6.      DEF System Control Unit (“DCU”) and Software,

         7.      DOC Inlet Temperature Sensor,

         8.      DOC Outlet Temperature Sensor,

         9.      Diesel Particulate Filter (“DPF” or “DPR”),

         10.     DPF Outlet Temperature Sensor,

         11.     DPF Pressure Sensor – Upstream,

         12.     DPF Pressure Sensor – Downstream,

         13.     Particulate Matter (“PM”) Sensor,

         14.     SCR Inlet Temperature Sensor,

         15.     NOx Sensor – Upstream,


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         16.     NOx Sensor – Downstream,

         17.     All OBD Sensors for the DPF System,

         18.     Camshaft Position Sensor,

         19.     Coolant Temperature Sensor,

         20.     Crankshaft Position Sensor,

         21.     Intake Air Flow Meter,

         22.     Outside Air Temperature Sensor,

         23.     After Turbo Catalyst,

         24.     DEF Supply Module, Pump, and Temperature Sensor Unit,

         25.     DEF Quality Sensor,

         26.     Turbocharger,

         27.     Fuel Cut Valve,

         28.     Burner Atomizer, and

         29.     any other parts repaired, replaced, or modified by the Approved Emission
                 Modification not listed above.

  Additionally, the Extended Warranty for Modified Vehicles shall cover the cost of any OBD
  diagnostic scan for malfunctions that trigger the OBD malfunction indicator light (MIL),
  regardless of whether the malfunction is attributable to a part that is covered under the Extended
  Warranty for Eligible Vehicles.




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                                            Appendix C

                            Extended Warranty for Subject Vehicles
                (Vehicles for which there is no Approved Emission Modification)

  Subject to standard limitations that must be identified to owners and lessees of Subject Vehicles,
  which may set forth exclusions like accident, abuse, neglect, or installation of unexempted parts
  (as that term is described in 13 C.C.R. § 2036(d)(10)), and applicable existing warranty
  provisions that will remain in effect, pursuant to Paragraph 33 of the Consent Decree, the
  Extended Warranty for Subject Vehicles that do not have an applicable Approved Emission
  Modification shall cover the cost of all parts and labor needed to repair the items listed below,
  including diagnostic services and OBD scans, for the timeframes set out below, regardless of
  mileage:

                 a.     The Extended Warranty for Subject Vehicles shall cover the following

  parts until April 1, 2029, regardless of miles accumulated by the Subject Vehicle:

                        1)      Diesel Oxidation Catalyst (“DOC”),

                        2)      Selective Catalyst Reduction (“SCR”) Catalyst, and

                        3)      Exhaust Gas Recirculation (“EGR”) Valve.

                 b.     The Extended Warranty for Subject Vehicles shall cover the following

  parts until April 1, 2032, regardless of miles accumulated by the Subject Vehicle:

                        1)      Engine Control Unit (“ECU”) and Software,

                        2)      DEF Line Heaters,

                        3)      DEF System Control Unit (“DCU”) and Software,

                        4)      DOC Inlet Temperature Sensor,

                        5)      DOC Outlet Temperature Sensor,

                        6)      Diesel Particulate Filter (“DPF” or “DPR”),

                        7)      DPF Outlet Temperature Sensor,

                        8)      DPF Pressure Sensor – Upstream,

                        9)      DPF Pressure Sensor – Downstream,

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                        10)     Particulate Matter (“PM”) Sensor,

                        11)     SCR Inlet Temperature Sensor,

                        12)     NOx Sensor – Upstream,

                        13)     NOx Sensor – Downstream,

                        14)     All OBD Sensors for the DPF System,

                        15)     Camshaft Position Sensor,

                        16)     Coolant Temperature Sensor,

                        17)     Crankshaft Position Sensor,

                        18)     Intake Air Flow Meter, and

                        19)     Outside Air Temperature Sensor.

                 c.     The Extended Warranty for Subject Vehicles shall cover the following

  parts, regardless of the miles accumulated by the Subject Vehicle, until the date which is 10

  years after the date on which the Subject Vehicle was first delivered to an owner or lessee for

  purposes other than resale:

                        1)      After Turbo Catalyst,

                        2)      DEF Supply Module, Pump, and Temperature Sensor Unit,

                        3)      DEF Quality Sensor,

                        4)      Turbocharger,

                        5)      Fuel Cut Valve, and

                        6)      Burner Atomizer.

  The Extended Warranty for Subject Vehicles shall also cover the cost of any OBD diagnostic
  scan for malfunctions that trigger the OBD malfunction indicator light (“MIL”), regardless of
  whether the malfunction is attributable to a part that is covered under the Extended Warranty for
  Subject Vehicles.


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                                            Appendix D

                                   Hino Financial Information

  At the request of the United States, Defendants provided the following information regarding
  their ability to pay a civil penalty in this matter:
       1. Annual financial statement information for:
              a. Hino Motors, Ltd. for the fiscal years ending (“FYE”) March 31, 2010-2024.
              b. Hino Motors Sales U.S.A., Inc. for FYE 2010-2024.
              c. Hino Motors Manufacturing U.S.A., Inc. for FYE 2010-2022.
       2. Annual financial projection information for:
              a. FYE 2024-2028, prepared by Hino in November 2023.
              b. FYE 2024-2028, prepared by Hino in April 2024.
              c. FYE 2025-2028, prepared by Hino in June 2024.
              d. FYE 2025-2028, prepared by Hino in September 2024.
       3. Presentation by Hino consultants, AlixPartners, titled “Hino Motors, Ltd. - Ability to
           Pay Observation and Analyses,” dated April 2, 2024.
       4. Responses to information requests by the United States related to:
              a. Hino’s lines of credit, long-term borrowings, and bonds payable.
              b. Hino’s historical assets and assets potentially available for sale.
              c. Hino’s major shareholders for FYE 2011-2024.
              d. Hino and Toyota Motor Corporation’s related-party transactions for FYE 2011-
                  2024.
              e. Potential merger involving Hino and Mitsubishi Fuso Truck and Bus
                  Corporation (“MFTBC”).
              f. Long-term agreement between Hino and Hexagon Purus.
              g. Planned closure of Hino’s plant in Marion, Arkansas.
              h. Other aspects of Defendants’ income, expenses, assets, liabilities, and cash
                  flows.




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